Case 24-90377 Document 1003-2 Filed in TXSB on 07/31/24 Page 1 of 86




                       Exhibit 2
      Case 24-90377 Document 1003-2 Filed in TXSB on 07/31/24 Page 2 of 86




                 PAPERS FILED IN CAUSE NO. 2024-26036 IN THE
         133RD JUDICIAL DISTRICT COURT OF HARRIS COUNTY, TEXAS

A.      Register of Actions (as of July 30, 2024).

B.      Plaintiffs’ Original Petition (Apr. 23, 2024).

C.      Request for Issuance of Service — CB&I Inc. (Apr. 23, 2024).

D.      Request for Issuance of Service — Chiyoda International Corporation (Apr. 23,
        2024).

E.      Request for Issuance of Service — Zachry Industrial, Inc. (Apr. 23, 2024).

F.      Citation Corporate and Affidavit of Service — CB&I, Inc. (May 6, 2024).

G.      Citation Corporate and Affidavit of Service — Chiyoda International Corporation
        (May 6, 2024).

H.      Citation Corporate and Affidavit of Service — Zachry Industrial, Inc. (May 6, 2024).

I.      Rule 11 Agreement Regarding Extension of Answer Deadline (May 15, 2024).

J.      Notice of Suggestion of Bankruptcy and Automatic Stay of Proceedings by Defend-
        ant Zachry Industrial, Inc. (June 14, 2024).




{00362761.DOCX}
      Case 24-90377 Document 1003-2 Filed in TXSB on 07/31/24 Page 3 of 86




                          UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

FLNG LIQUEFACTION, LLC;                        §   Adv. Pro. No. ___________
FLNG LIQUEFACTION 2, LLC; and                  §
FLNG LIQUEFACTION 3, LLC,                      §
                                               §
        Plaintiffs,                            §
                                               §
v.                                             §   Removed from:
                                               §   133rd Judicial District Court
CB&I INC.;                                     §   Harris County, Texas
ZACHRY INDUSTRIAL, INC.; and                   §   Cause No. 2024-26036
CHIYODA INTERNATIONAL                          §
CORPORATION,                                   §   Related to:
                                               §   In re: Zachry Holdings, Inc., et al.
        Defendants.                            §   Case No. 24-90377 (MI)


      NOTICE OF REMOVAL BY DEFENDANT ZACHRY INDUSTRIAL, INC.

TO THE COURT AND TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

        PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1334(b) and 1452(a),

Federal Rule of Bankruptcy Procedure 9027(a)(1), and Bankruptcy Local Rule 9027–1,

Defendant Zachry Industrial, Inc. (“Zachry Industrial”) hereby removes to this Court this

action now pending in the 133rd Judicial District Court of Harris County, Texas, Cause

No. 2024-26036 (“Removed Action”).

        The grounds for removal are as follows:

        1.        On May 21, 2024, Zachry Industrial and affiliated entities (collectively,

“Zachry”) filed voluntary petitions for relief under Chapter 11 of the U.S. Bankruptcy Code

in this Court, consolidated into Case No. 24-90377 (“Zachry Chapter 11 Cases”). Accord-

ing to its first-day declaration, Zachry sought bankruptcy protection “as a result of financial


{00362761.DOCX}                                1
      Case 24-90377 Document 1003-2 Filed in TXSB on 07/31/24 Page 4 of 86




distress caused by one of [the debtors’] major projects, the liquified natural gas . . . project

. . . awarded to Debtor [and Defendant herein] Zachry Industrial, Inc.” and its joint venture

partners. Zachry Chapter 11 Cases, Doc. 7 at 2, ¶ 3. Those joint-venture partners are co-

Defendant Chiyoda International Corporation and CB&I LLC. Id. The Zachry Chapter 11

Cases remain pending.

        2.        On April 23, 2024, Plaintiffs filed this Removed Action, asserting a claim

alleging breach by Defendants of engineering, procurement, and construction contracts with

Plaintiffs in connection with the Quintana Island LNG Liquefaction and Export Terminal

in Freeport, Texas. Plaintiffs “seek monetary relief over $1,000,000.” Plaintiffs have served

Defendants, but none has responded to Petition. On June 14, 2024, Zachry Industrial filed

a Notice of Suggestion of Bankruptcy and Automatic Stay of Proceedings.

        3.        Zachry Industrial expressly does not concede that it is a proper party to the

Removed Action.

        4.        The Removed Action is a civil action that may be removed to this Court

pursuant to 28 U.S.C. § 1452(a) because the Court has jurisdiction over the claims asserted

therein under 28 U.S.C. § 1334. Section 1334(b) grants this Court “original but not exclu-

sive jurisdiction of all civil proceedings . . . related to cases under title 11,” and it “is well

established that ‘[f]ederal courts have “related to” subject matter jurisdiction over litigation

arising from a bankruptcy case if the proceeding could conceivably affect the estate being

administered in bankruptcy.’ ” In re KSRP, Ltd., 809 F.3d 263, 266 (5th Cir. 2015) (quoting

Lone Star Fund V (U.S.), L.P. v. Barclays Bank PLC, 594 F.3d 383, 386 (5th Cir. 2010)).

Moreover, cases “are ‘related to’ a bankruptcy case if they involve legal claims by and


{00362761.DOCX}                                 2
      Case 24-90377 Document 1003-2 Filed in TXSB on 07/31/24 Page 5 of 86




against the debtor.” Menggui Zhang v. Rothrock, 2006 WL 8446467, at *1 (S.D. Tex.

Jan. 4, 2006).

        5.        The Removed Action falls under “related to” jurisdiction because it involves

legal claims against debtor Zachry Industrial, and because it could conceivably affect the

estate being administered in bankruptcy. Specifically, as noted above, the Removed Action

seeks money judgments against Zachry and its co-Defendants jointly and severally for

more than $1 million. Zachry Industrial will likely incur significant costs disputing liability

and damages, further reducing its estate and affecting the administration. If there is a

judgment against Zachry’s co-Defendants, Zachry might be subject to contribution claims.

        6.        Removal by Zachry Industrial is timely under Federal Rule of Bankruptcy

Procedure 9027(a)(2)(A), because the Removed Action (filed on April 23) was pending

when Zachry Industrial commenced its case under the Bankruptcy Code (on May 21), and

this notice is being filed within 90 days of such commencement.

        7.        Pursuant to Federal Rule of Bankruptcy Procedure 9027(a)(1), Zachry Indus-

trial states that it consents to entry of final orders or judgment by the bankruptcy court.

        8.        The information required by Local Rule 9027-1(a) — (i) a list of all names

and addresses of the parties, (ii) a designation of those parties service of process has been

accomplished, and (iii) a list of the name, address, and telephone number of the counsel for

every party — is attached hereto as Exhibit 1.

        9.        Pursuant to Federal Rule of Bankruptcy Procedure 9027(a)(1) and Local

Bankruptcy Rule 9027–1(b), copies of all papers that have been filed in the 133rd Judicial

District Court of Harris County, Texas are attached hereto as Exhibit 2.


{00362761.DOCX}                                 3
      Case 24-90377 Document 1003-2 Filed in TXSB on 07/31/24 Page 6 of 86




        10.       Pursuant to 28 U.S.C. § 1446(d) and Federal Rule of Bankruptcy Procedure

9027(b)–(c), Zachry Industrial will, promptly after filing this Notice of Removal, (1) serve

a copy of the notice on all parties to the Removed Action and (2) file a copy of the notice

with the clerk of the 133rd Judicial District Court of Harris County, Texas.

        WHEREFORE, Defendant Zachry Industrial, Inc. respectfully gives notice that the

Removed Action pending against it in the 133rd Judicial District Court of Harris County,

Texas is hereby removed to this Court.

Dated: July 31, 2024                           Respectfully submitted,

                                               /s/ John B. Thomas
                                               John B. Thomas (Attorney-in-Charge)
                                               Texas Bar No. 19856150
                                               S.D. Tex. ID No. 10675
                                               jthomas@hicks-thomas.com
                                               Eric Grant
                                               Texas Bar No. 24076167
                                               S.D. Tex. ID No. 1786107
                                               grant@hicks-thomas.com
                                               D. Ryan Cordell, Jr.
                                               Texas Bar No. 24109754
                                               S.D. Tex. ID No. 3455818
                                               rcordell@hicks-thomas.com
                                               Hicks Thomas LLP
                                               700 Louisiana Street, Suite 2300
                                               Houston, Texas 77002
                                               Telephone: (713) 547-9100
                                               Facsimile: (713) 547-9150

                                               Counsel for Defendant Zachry Industrial, Inc.




{00362761.DOCX}                               4
      Case 24-90377 Document 1003-2 Filed in TXSB on 07/31/24 Page 7 of 86




                                 INDEX OF EXHIBITS

1.      All information required by Local Rule 9027–1(a).

2.      Copies of all papers filed in Cause No. 2024-26036 in the 133rd Judicial District
        Court of Harris County, Texas.




{00362761.DOCX}                             5
      Case 24-90377 Document 1003-2 Filed in TXSB on 07/31/24 Page 8 of 86




                 PAPERS FILED IN CAUSE NO. 2024-26036 IN THE
         133RD JUDICIAL DISTRICT COURT OF HARRIS COUNTY, TEXAS

A.      Register of Actions (as of July 30, 2024).

B.      Plaintiffs’ Original Petition (Apr. 23, 2024).

C.      Request for Issuance of Service — CB&I Inc. (Apr. 23, 2024).

D.      Request for Issuance of Service — Chiyoda International Corporation (Apr. 23,
        2024).

E.      Request for Issuance of Service – Zachry Industrial, Inc. (Apr. 23, 2024).

F.      Citation Corporate and Affidavit of Service — CB&I, Inc. (May 6, 2024).

G.      Citation Corporate and Affidavit of Service — Chiyoda International Corporation
        (May 6, 2024).

H.      Citation Corporate and Affidavit of Service — Zachry Industrial, Inc. (May 6, 2024).

I.      Rule 11 Agreement Regarding Extension of Answer Deadline (May 15, 2024).

J.      Notice of Suggestion of Bankruptcy and Automatic Stay of Proceedings by Defend-
        ant Zachry Industrial, Inc. (June 14, 2024).




{00362761.DOCX}
Case 24-90377 Document 1003-2 Filed in TXSB on 07/31/24 Page 9 of 86




                               A
7/30/24, 2:39 PM   Case 24-90377 Document 1003-2       Filed
                                            Office of Harris   in TXSB
                                                             County           on -07/31/24
                                                                    District Clerk               Page 10 of 86
                                                                                   Marilyn Burgess


   HCDistrictclerk.com                   FLNG LIQUEFACTION LLC vs. CB&I INC (A TEXAS                                          7/30/2024
                                         CORPORATION)
                                         Cause: 202426036  CDI: 7   Court: 133

                                                              DOCUMENTS
       Number                                               Document                                      Post        Date        Pgs
                                                                                                         Jdgm
   114935862          Notice of Suggestion of Bankruptcy and Automatic Stay Of Proceedings                       06/14/2024       5
    ·> 114935865      Exhibit A Zachrys Voluntary Petition of Zachry Holdings Inc Under chapter of the           06/14/2024       29
                      Bankruptcy Code
   114418571          Rule 11 Agreement Regarding Extension of Answer Deadline                                   05/15/2024       2
   114245187          Citation with Affidavit of Service                                                         05/06/2024       3

   114245191          Citation with Affidavit of Service                                                         05/06/2024       3
   114245192          Citation with Affidavit of Service                                                         05/06/2024       3

   113991757          Plaintiffs' Original Petition                                                              04/23/2024       16
                      Plaintiffs' Original Petition                                                              04/23/2024

   113996861          Request for Issuance of Service                                                            04/23/2024       2
   113996863          Request for Issuance of Service                                                            04/23/2024       2

   113996864          Request for Issuance of Service                                                            04/23/2024       2




https://www.hcdistrictclerk.com/edocs/public/CaseDetailsPrinting.aspx?Get=EID8XnLOghCwr2P0mvbRfkzAd6kZ0kgveqsGxZwQv6I3cv37f/er//u2EX7o…   1/1
Case 24-90377 Document 1003-2 Filed in TXSB on 07/31/24 Page 11 of 86




                               B
                   Case 24-90377 Document 1003-2 Filed in TXSB on 07/31/24 Page 12 of 86 4/23/2024 10:57 AM
                                                                                           Marilyn Burgess - District Clerk Harris County
                                                                                                                Envelope No. 86955386
                                                                                                                      By: Bernitta Barrett
                                                                                                             Filed: 4/23/2024 10:57 AM

                                             Cause No. __________________

              FLNG LIQUEFACTION, LLC; FLNG                        §    IN THE DISTRICT COURT
              LIQUEFACTION 2, LLC; AND FLNG                       §
              LIQUEFACTION 3, LLC                                 §
                                                                  §
                          Plaintiffs,                             §
                                                                  §    _____ JUDICIAL DISTRICT
              v.                                                  §
                                                                  §
              CB&I INC.; ZACHRY INDUSTRIAL,                       §
              INC.; AND CHIYODA                                   §
              INTERNATIONAL CORPORATION                           §
                                                                  §    HARRIS COUNTY, TEXAS
                          Defendants.

                                          PLAINTIFFS’ ORIGINAL PETITION

                     FLNG Liquefaction, LLC; FLNG Liquefaction 2, LLC; and FLNG Liquefaction 3, LLC

             file this Original Petition against CB&I Inc.; Zachry Industrial, Inc.; and Chiyoda International

             Corporation, respectfully showing as follows.

                                             I.     PRELIMINARY STATEMENT

                     1.       Plaintiffs contracted with Defendants under fixed price, turnkey, engineering,

             procurement, and construction agreements for the construction of a natural gas liquefaction and

             liquified natural gas (“LNG”) export facility, the details of which are discussed below. Plaintiffs

             have recently discovered significant defects in the performance of Defendants’ work that has

             caused major damage to key equipment at the LNG facility resulting in substantial repair costs,

             the shut-down of operations, and other damages. Plaintiffs file this action to recover all damages

             caused by Defendants failure to comply with their contractual obligations.

                                              II.    STATEMENT OF RELIEF

                     2.       Pursuant to Texas Rule of Civil Procedure 47, Plaintiffs assert that they seek

             monetary relief over $1,000,000 and all the other relief to which they are entitled.



                                                              1



Copy from re:SearchTX
                  Case 24-90377 Document 1003-2 Filed in TXSB on 07/31/24 Page 13 of 86




                                              III.     DISCOVERY LEVEL

                      3.    This case is intended to be conducted under Discovery Level 3 in accordance with

             Texas Rule of Civil Procedure 190.4.

                                                     IV.   PARTIES

                      4.    Plaintiff FLNG Liquefaction, LLC (“FLIQ1”) is a Delaware limited liability

             company with its principal place of business in Houston, Texas.

                      5.    Plaintiff FLNG Liquefaction 2, LLC (“FLIQ2”) is a Delaware limited liability

             company with its principal place of business in Houston, Texas.

                      6.    Plaintiff FLNG Liquefaction 3, LLC (“FLIQ3”) is a Delaware limited liability

             company with its principal place of business in Houston, Texas.

                      7.    Defendant CB&I Inc. (“CB&I”) is a Texas corporation with its principal place of

             business in Houston, Texas. CB&I may be served with process through its registered agent C T

             Corporation, 1999 Bryan Street, Suite 900, Dallas, Texas 75201.

                      8.    Defendant Zachry Industrial, Inc. (“Zachry”) is a Delaware corporation with its

             principal place of business in San Antonio, Texas. Zachry may be served with process through its

             registered agent C T Corporation, 1999 Bryan Street, Suite 900, Dallas, Texas 75201.

                      9.    Defendant Chiyoda International Corporation (“Chiyoda”) is a Washington

             corporation with its principal place of business in Houston, Texas. Chiyoda may be served with

             process through its registered agent C T Corporation, 1999 Bryan Street, Suite 900, Dallas, Texas

             75201.

                                            V.       JURISDICTION & VENUE

                      10.   Venue is proper in Harris County pursuant to Texas Civil Practice & Remedies

             Code § 15.020 because the written agreements at issue involve “major transactions” as defined



                                                             2



Copy from re:SearchTX
                  Case 24-90377 Document 1003-2 Filed in TXSB on 07/31/24 Page 14 of 86




             under the statute, and the parties agreed to venue in Harris County. Specifically, the agreements

             at issue provide that each party “irrevocably submits to the exclusive jurisdiction of any Federal

             court or Texas state court sitting in Houston, Texas.”

                    11.     This Court has subject matter jurisdiction over this dispute because the amount in

             controversy is within the jurisdictional limits of this Court.

                    12.     This Court has personal jurisdiction over Defendants because they are citizens of

             Texas by virtue of having their principal places of business in Texas. Further, Defendants conduct

             business in Texas, including but not limited to, by entering into contractual relationships and

             performing work in Texas and maintaining offices and employees in Texas. Defendants have

             purposefully availed themselves of the benefits and protections of the State of Texas by

             establishing minimum contacts here, and this Court’s exercise of jurisdiction over Defendants does

             not offend traditional notions of fair play and substantial justice.

                                             VI.     FACTUAL BACKGROUND

             A.     Freeport LNG’s Quintana Island Facility

                    13.     Freeport LNG Development, L.P. (“Freeport LNG”) is one of the first and largest

             exporters of LNG.     With its joint venture partners, Freeport LNG owns and operates an LNG

             facility located on Quintana Island near Freeport, Texas (the “LNG Facility”).

                    14.     The LNG Facility was previously an LNG import and regasification facility (the

             “Regas Facility”) featuring two 160,000 cubic meter LNG storage tanks, a marine dock that could

             accommodate the largest LNG tankers in service, and an LNG vaporization system capable of

             producing over 2 billion cubic feet (Bcf) of gas per day. Construction on the Regas Facility started

             in 2005, and commercial operations began in 2008. However, by the time the import terminal

             commenced operations in 2008, the North American natural gas industry had begun to experience



                                                               3



Copy from re:SearchTX
                  Case 24-90377 Document 1003-2 Filed in TXSB on 07/31/24 Page 15 of 86




             a sea change—the shale gas revolution.

                      15.    In 2010, to take advantage of excess domestic natural gas reserves due primarily to

             improvements in extracting gas from shale, Freeport LNG began a project to transform the Regas

             Facility from an import terminal into a natural gas liquefaction and LNG export facility (as defined

             above, the “LNG Facility”).

                      16.    LNG is natural gas that is super-cooled to transform it from a gaseous state into a

             liquid for ease and safety of non-pressurized storage and transport. Natural gas is converted to a

             liquid in a liquefaction plant that performs a sequence of processes, which is often referred to as

             “liquefying” the natural gas. This liquefaction process takes place in processing units that are

             often referred to as “trains.”

                      17.    The LNG Facility, which currently has three liquefaction processing units, or trains,

             is the first world-scale electric-powered LNG plant in North America. Train 1 was commissioned

             and began commercial operations in December 2019. Train 2 and Train 3 commenced operations

             in January and May 2020, respectively. When operating at full capacity, the output from the

             Facility’s three liquefaction trains is enough to decrease the United States trade deficit by 1-2%

             alone.

                      18.    Each liquefaction train at the LNG Facility uses three General Electric 75 MW

             motors that power three propane and mixed-refrigerant compressors. The electric motors used at

             the LNG Facility were selected to allow Freeport LNG to comply with strict local air emissions

             standards and meet its production and export targets.

             B.       The EPC Contracts

                      19.    FLIQ1, FLIQ2, and FLIQ3 are affiliates of Freeport LNG.

                      20.    FLIQ1 developed the first LNG train (“Train 1”). FLIQ2 developed the second



                                                               4



Copy from re:SearchTX
                  Case 24-90377 Document 1003-2 Filed in TXSB on 07/31/24 Page 16 of 86




             LNG train (“Train 2”), and FLIQ3 developed the third LNG train (“Train 3”).

                    21.     FLIQ1 and FLIQ2 selected CB&I and Zachry, through a joint venture arrangement,

             to provide all engineering, procurement, construction, pre-commissioning, commissioning, start-

             up and testing services for Train 1 and Train 2 on a fixed price, turnkey basis.

                    22.     On December 10, 2013, FLIQ1 entered into a Fixed Price Separated Turnkey

             Agreement with CB&I and Zachry for the Engineering, Procurement and Construction of the

             Freeport Train 1 Liquefaction Project (“Train 1 EPC Contract”).

                    23.     Also on December 10, 2013, FLIQ2 entered into a Fixed Price Separated Turnkey

             Agreement with CB&I and Zachry for the Engineering, Procurement and Construction of the

             Freeport Train 2 Liquefaction Project (“Train 2 EPC Contract”).

                    24.     FLIQ3 selected CB&I, Zachry and Chiyoda, through a joint venture arrangement,

             to provide engineering, procurement, construction, pre-commissioning, commissioning, start-up

             and testing services for Train 3 on a fixed price, turnkey basis.

                    25.     On March 24, 2015, FLIQ3 entered into a Fixed Price Separated Turnkey

             Agreement with CB&I, Zachry, and Chiyoda for the Engineering, Procurement and Construction

             of the Freeport Train 1 Liquefaction Project (“Train 3 EPC Contract”).

                    26.     The pertinent provisions of the Train 1 EPC Contract, Train 2 EPC Contract, and

             Train 3 EPC Contract are virtually identical and are referred to collectively in this Petition as the

             EPC Contracts. CB&I, Zachry, and Chiyoda, as applicable, are referred to in the EPC Contracts

             collectively as “Contractor,” and will be collectively referred to as “Contractor” in this Petition.

             C.     Defendants’ Obligations Under the EPC Contracts

                    27.     The EPC Contracts establish Contractor’s substantive performance standards for

             the Work. Among other obligations, Defendants agreed to perform all engineering, design,



                                                               5



Copy from re:SearchTX
                  Case 24-90377 Document 1003-2 Filed in TXSB on 07/31/24 Page 17 of 86




             manufacturing, and fabrication work for Trains 1, 2, and 3 in accordance with applicable codes

             and standards and in accordance with good engineering and construction practices.

                    28.    Specifically, Section 2.5C of the EPC Contracts provides that:

                    “Contractor shall perform the Work in accordance with Applicable Law and
                    Applicable Codes and Standards, whether or not such Applicable Law or
                    Applicable Codes and Standards came into effect before the Effective Date or
                    during the performance of the Work.” (emphasis added).

                    29.    Section 3.1A of the EPC Contracts provides that:

                    “the Work shall be performed on a turnkey basis and shall include all engineering,
                    procurement, construction, pre-commissioning, start-up and testing of the Train [1,
                    2, and 3] Expansion, all Equipment, construction equipment (including materials,
                    apparatus, structures, supplies, tools, machinery, equipment and scaffolding), spare
                    parts, labor, workmanship, inspection, manufacture, fabrication, installation,
                    design, delivery, transportation, storage, training of Owner’s operations and
                    maintenance personnel and all other items or tasks that are set forth in Attachment
                    A, or otherwise required to achieve RFSU, RLFC, Substantial Completion and
                    Final Completion of the Train 3 Expansion in accordance with the requirements of
                    this Agreement, including achieving the Minimum Acceptance Criteria and
                    Performance Guarantees.” (emphasis added).

                    30.    Section 3.1A of the EPC Contracts further provides that:

                    “Contractor shall perform the Work in accordance with GECP, Applicable Law,
                    Applicable Codes and Standards, and all other terms and provisions of this
                    Agreement.” (emphasis added).

                    31.    The EPC Contracts define “Good Engineering and Construction Practices” or

             “GECP” as:

                    “the generally accepted reasonable and prudent practices, methods, skill, care,
                    techniques and standards employed by the liquefied natural gas engineering and
                    construction industries with respect to: (i) the engineering, procurement,
                    construction, pre-commissioning, commissioning, testing and start-up of LNG
                    storage facilities, natural gas treatment facilities and natural gas liquefaction
                    facilities, all in conformance with Applicable Codes and Standards, Applicable
                    Law, and the standards recommended by the suppliers and manufacturers of
                    Equipment provided hereunder; (ii) personnel and facility safety and environmental
                    protection; (iii) efficient scheduling of the Work; and (iv) the reliability and
                    availability of the Facility under the operating conditions reasonably expected at
                    the Site, as specified in Attachment A.” (emphasis added).


                                                             6



Copy from re:SearchTX
                  Case 24-90377 Document 1003-2 Filed in TXSB on 07/31/24 Page 18 of 86




                    32.     Section 3.2A of the EPC Contracts provides that Contractor’s specific obligations

             include to “procure, supply, transport, handle, properly store, assemble, erect and install all

             Equipment.” (emphasis added).

                    33.     Section 3.2B of the EPC Contracts provides that Contractor’s specific obligations

             include to:

                     “provide construction, construction management (including the furnishing of all
                    field supplies, tools, construction equipment, and all Site supervision and craft
                    labor), civil/structural, electrical, instrumentation, field design, inspection and
                    quality control services required to ensure that the Work is performed in
                    accordance herewith.” (emphasis added).

                    34.     Section 3.2D of the EPC Contracts requires that the Contractor “perform shop and

             other inspections of the work of Subcontractors and Sub-subcontractors to ensure that such work

             meets all of the requirements of this Agreement.” (emphasis added).

                    35.     Section 3.2R of the EPC Contracts requires that the Contractor “perform, or cause

             to be performed, all design and engineering Work in accordance with this Agreement, including

             that specified in Section 3.3.” (emphasis added).

                    36.     Section 3.3A of the EPC Contracts provides that:

                     “Contractor shall, as part of the Work, perform, or cause to be performed, all
                    design and engineering Work in accordance with this Agreement and cause the
                    Work to meet and achieve the requirements of this Agreement, including achieving
                    the Minimum Acceptance Criteria and Performance Guarantees.” (emphasis
                    added).

                    37.     Section 3.3C(6) of the EPC Contracts provides that:

                    “Owner’s review or approval of any Drawings and Specifications (or Owner’s lack
                    of comments or written approval thereof) shall not in any way be deemed to limit
                    or in any way alter Contractor’s responsibility to perform and complete the Work
                    in strict accordance with the requirements of this Agreement, and in the event that
                    there is a discrepancy, difference or ambiguity between the terms of this
                    Agreement and any Drawings and Specifications, the interpretation imposing the
                    greater obligation on Contractor shall control.” (emphasis added).



                                                             7



Copy from re:SearchTX
                  Case 24-90377 Document 1003-2 Filed in TXSB on 07/31/24 Page 19 of 86




                    38.    Section 3.3D of the EPC Contracts provides that:

                    “Contractor shall perform, or cause to be performed, all design and engineering
                    work in accordance with Applicable Law and Applicable Codes and Standards,
                    and all Drawings, Specifications and design and engineering Work shall be signed
                    and stamped by design professionals licensed in accordance with Applicable Law.”
                    (emphasis added).

                    39.    Section 8.2B of the EPC Contracts provides that Contractor remains responsible for

             breaches of its obligations under the EPC Contracts following Substantial Completion:

                    “As between Owner and Contractor, Owner shall bear the risk of physical loss and
                    damage to the Train [1, 2, and 3] Expansion and each component thereof … after
                    Substantial Completion of the Train [1, 2, and 3] Expansion is achieved….
                    Notwithstanding the foregoing, under no circumstances shall this Section 8.2B be
                    interpreted to relieve Contractor of its obligations or liabilities under this
                    Agreement, including its obligations with respect to Defective Work and
                    Corrective Work and its obligations under Section 20.1 and under Section 2.B of
                    Attachment O.” (emphasis added).

                    40.    Section 12 of the EPC Contracts establishes Contractor’s Warranties for its Work.

             Specifically, under Section 12.1B of the EPC Contracts, Contractor warrants that the Work

             “including Equipment, and each component thereof” shall be:

                    “1. new, complete, and of suitable grade for the intended function and use in
                    accordance with this Agreement;” “2. in accordance with all of the requirements
                    of this Agreement, including in accordance with GECP, Applicable Law and
                    Applicable Codes and Standards;” and “4. free from defects in design, material
                    and workmanship.” (emphasis added).

                    41.    Section 12.1C of the EPC Contracts provides:

                     “Contractor shall, without additional cost to Owner, use all commercially
                    reasonable efforts to obtain warranties from Subcontractors and Sub-subcontractors
                    that meet or exceed the requirements of this Agreement; provided, however,
                    Contractor shall not in any way be relieved of its responsibilities and liability to
                    Owner under this Agreement, regardless of whether such Subcontractor or Sub-
                    subcontractor warranties meet the requirements of this Agreement, as Contractor
                    shall be fully responsible and liable to Owner for its Warranty and Corrective
                    Work obligations and liability under this Agreement for all Work.” (emphasis
                    added).

                    42.    Section 12.1C of the EPC Contracts further provides:


                                                             8



Copy from re:SearchTX
                  Case 24-90377 Document 1003-2 Filed in TXSB on 07/31/24 Page 20 of 86




                     “All such [Subcontractor and Sub-subcontractor] warranties shall be deemed to
                    run to the benefit of Owner and Contractor. Such warranties, with duly executed
                    instruments assigning the warranties to Owner, shall be enforceable by Owner
                    upon Substantial Completion. All warranties provided by any Subcontractor or
                    Sub-subcontractor shall be in such form as to permit direct enforcement by
                    Contractor or Owner against any Subcontractor or Sub-subcontractor whose
                    warranty is called for.” (emphasis added).

                    43.     Section 12.1C of the EPC Contracts also establishes that:

                     “Contractor is jointly and severally liable with such Subcontractor or Sub-
                    subcontractor with respect to such Subcontractor or Sub-subcontractor warranty.”

                    44.     Section 12.3 of the EPC Contracts establishes Contractor’s obligation to perform

             Corrective Work during the Defect Correction Period, which is defined as the 18-month period

             following Substantial Completion. However, Section 12.3D of the EPC Contracts makes clear

             that Contractor remains responsible to Owner for failures to comply with its Warranties under the

             EPC Contracts:

                    “Nothing contained in this Section 12.3 shall be construed to establish a period of
                    limitation with respect to other obligations which Contractor might have under the
                    Agreement. Establishment of the Defect Correction Period relates only to the
                    specific obligation of Contractor to perform Corrective Work, and has no
                    relationship to the time within which the obligation to comply with this
                    Agreement may be sought to be enforced, nor to the time within which
                    proceedings may be commenced to establish Contractor’s liability with respect to
                    Contractor’s obligations other than specifically to perform Corrective Work.”
                    (emphasis added)

             D.     Defects in the Trains’ Motors

                    45.     While the Project experienced Contractor execution delays and other difficulties,

             after Trains 1, 2, and 3 began commercial operations, no significant defects in Defendants’ work

             were discovered after the expiration of the 18-month Defect Correction Period until recently.

                    46.     On January 17, 2024, the Train 3 Propane Compressor 75 MW Motor (“75 MW

             Motor”) tripped and remained offline, despite several attempts to restart it. Initial investigations

             indicated that the likely cause of the trip was an electrical fault within a non-accessible portion of


                                                               9



Copy from re:SearchTX
                  Case 24-90377 Document 1003-2 Filed in TXSB on 07/31/24 Page 21 of 86




             the 75 MW Motor. A subsequent root cause analysis (“RCA”) determined that the direct cause of

             the 75 MW Motor failure was an electrical short caused by loose hardware (bolts, nuts and

             washers) within the 75 MW Motor that dislodged from a protective panel where they were installed

             and fell into the 75 MW Motor windings.

                    47.     Specifically, the RCA identified the following root causes of the loose hardware:

                                a. Deficient bolt/washer/nut retention assembly design: Design was not in
                                   accordance with manufacturer recommendations or Good Engineering and
                                   Construction Practices (“GECP”). Specifically, locking nuts were not used
                                   to ensure that the hardware remained tightened in place within the 75 MW
                                   Motor during normal operations within vibration integrity
                                   limits. Additionally, Nord-Lock washers were placed on only one side of
                                   the bolt step up, which we understand is not in accordance with
                                   manufacturer recommendations that require a Nord-Lock washer on both
                                   the bolt and nut sides for proper fastening.

                                b. Inadequate quality assurance/quality control during assembly: There was
                                   defective workmanship during assembly, including the use of improper
                                   parts, as well as differing metals for similar parts. For example, bolt
                                   assembly components in the 75 MW Motor were a mixture of stainless steel
                                   and carbon steel parts, and a large shim washer was found within the 75
                                   MW Motor and is not an approved material in the bill of materials, nor is
                                   the use of shim washers part of the proper design of the bolt assembly. In
                                   addition, multiple bolts were identified as being inadequately torqued.

                    48.     Similar defects have been identified in two other Train 3 motors, which will also

             require repairs.

                    49.     The RCA identified a separate Defect in the 75 MW motor that also requires repair

             in order to prevent premature failure in the future. Specifically, significant partial discharge was

             found on the cable bundles going from the stator to the motor termination boxes in the 75 MW

             motor. The cause of the discharge was determined to be the excessive length of the cables and the

             increased bend radius of the cabling. Cable sheath and insulation damage due to excess partial

             discharge was also found in the other Train 3 motors, requiring repairs to all three Train 3 motors

             before they could be placed back into service.


                                                              10



Copy from re:SearchTX
                  Case 24-90377 Document 1003-2 Filed in TXSB on 07/31/24 Page 22 of 86




                    50.     The same 75 MW Motor are utilized in Trains 1 and 2 of the LNG Facility. Given

             the prevalence of the Defects in the Train 3 motors, Plaintiffs believed that it was likely that the

             motors in Trains 1 and 2 are affected by the same Defects.

                    51.     As a result, Plaintiffs implemented enhanced monitoring of Trains 1 and 2 and

             planned to perform inspections of Trains 1 and 2 after the repairs to Train 3 were completed.

             However, the enhanced monitoring performed on the Train 1 and 2 motors identified an increase

             in partial discharge and current abnormalities in one of the Train 2 motors. As such, Train 2 was

             taken offline for inspection prior to the completion of the repairs to Train 3.

                    52.     Inspections of the Train 2 motors revealed additional workmanship issues, even

             moreso than those found in the inspections of the Train 3 motors. Not only did all 6 bolt assemblies

             dislodge from the protective micarta panel (as they did in the damaged Train 3 motor), but the

             micarta panel itself partially separated due to an approximately two-foot long bolt assembly

             dislodging from the underside of the panel. While one of the two-foot long bolt assemblies

             remained in place, the other bolt assembly became fully dislodged from the protective panel and

             appears to have dropped into the rotor portion of the motor and sheared into numerous smaller

             pieces (which caused additional damage to the motor internals).

                    53.     The inspection of the Train 2 motor also identified substantial damage to the

             insulation on the motor’s stator. The preliminary boroscope inspection of Train 2’s 12K-31 motor

             identified that some bolt assemblies have dislodged from the micarta panels.

                    54.     Given the extent of the faulty workmanship and poor condition of the bolt

             assemblies and cabling supports identified in Train 2, Plaintiffs made the decision to take Train 1

             offline immediately to mitigate any possibility of damage to the Train 1 motors.




                                                              11



Copy from re:SearchTX
                  Case 24-90377 Document 1003-2 Filed in TXSB on 07/31/24 Page 23 of 86




                      55.   FLIQ3 has incurred damages, costs, losses, and expenses as a result of the failure

             of the 75 MW motor on Train 3 and Contractor’s failure to comply with its obligations and

             Warranties under the EPC Contracts, including investigatory and repair costs, removal and

             transportation costs for the 75 MW motor to be taken from its installed location to and from the

             off-site facility for repairs, costs to install a spare 75 MW motor into Train 3, and other costs and

             expenses incurred by FLIQ3 as a result of the Defects. FLIQ3 also incurred additional damages,

             costs, losses and expenses to carry out preventative maintenance on the other Train 3 motors.

                      56.   FLIQ1 and FLIQ2 have or will incur similar damages, costs, losses and expenses

             as a result of the Contractor’s failure to comply with its obligations and Warranties under the EPC

             Contracts in connection with the motors on Trains 1 and 2.

                      57.   Because of Defendants’ breaches, it has been necessary for Plaintiffs to retain the

             undersigned attorneys to prosecute this claim.

                      58.   All conditions precedent to filing this action have or will soon occur.

                                              VII.    CAUSES OF ACTION

             A.       Breach of the EPC Contracts

                      59.   Plaintiffs incorporate and reallege the preceding allegations as if fully set forth

             below.

                      60.   Plaintiffs entered into the EPC Contracts with Defendants, which constitute valid

             and enforceable contracts.

                      61.   Defendants have breached their substantive performance obligations under Articles

             2 and 3 of the EPC Contracts, as well as their Warranty obligations under Article 12 of the EPC

             Contracts, by at least the following acts and omissions:

                            a.      Contractor’s deficient bolt/washer/nut retention assembly design and its



                                                              12



Copy from re:SearchTX
                  Case 24-90377 Document 1003-2 Filed in TXSB on 07/31/24 Page 24 of 86




                                    inadequate quality assurance/quality control during assembly,

                            b.      Contractor’s excessive cable length and increased bend radius of cabling

                                    resulting in significant partial discharge on the cable bundles, and

                            c.      Contractor’s deficient bolt assemblies, causing the bolts to become

                                    dislodged from the micarta panels and separation of the micarta panels

                                    themselves.

                    62.     Defendants’ acts and omissions constitute a breach of their obligations under the

             EPC Contracts, including, inter alia, the obligations to:

                            a.      perform engineering, design, manufacture and fabrication “in accordance

                                    with the requirements of this Agreement” under Section 3.1A;

                            b.      “perform the Work in accordance with GECP” under Section 3.1A, which

                                    includes “reasonable and prudent practices, methods, skill, care, techniques

                                    and standards” for the engineering, design and construction of LNG

                                    facilities;

                            c.      “procure” and “assemble, erect and install all Equipment” under Section

                                    3.2A;

                            d.      “provide … inspection and quality control services” under Section 3.2B;

                            e.      inspect the Work of their Subcontractors and “ensure that such work meets

                                    all the requirements of this Agreement” under Section 3.2D;

                            f.      “perform, or cause to be performed, all design and engineering Work in

                                    accordance with this Agreement” under Section 3.2R and the equivalent

                                    language of Section 3.3A;

                            g.      comply with their Warranty that the Equipment and each component thereof



                                                              13



Copy from re:SearchTX
                  Case 24-90377 Document 1003-2 Filed in TXSB on 07/31/24 Page 25 of 86




                                     shall be “new, complete and of suitable grade for the intended function and

                                     use in accordance with this Agreement” under Section 12.1B(1);

                             h.      comply with their Warranty that the Equipment and each component thereof

                                     shall be “in accordance with all of the requirements of this Agreement,

                                     including in accordance with GECP” under Section 12.1B(2); and

                             i.      comply with their Warranty that the Equipment and each component thereof

                                     shall be “free from defects in design, material and workmanship” under

                                     Section 12.1B(3).

                     63.     Plaintiffs have been damaged and are entitled to recover all amounts caused by

             Defendants’ breaches of the EPC Contracts.

                     64.     In addition, because Defendants’ acts and omissions constitute gross negligence,

             Plaintiffs are entitled to recover their lost profits.

                     65.     Because of Defendants’ breaches, it has been necessary for Plaintiffs to retain the

             undersigned attorneys to prosecute this claim. Pursuant to Texas Civil Practice & Remedies Code

             § 38.001, Plaintiffs are entitled to recover its reasonable and necessary attorneys’ fees.

                                              VIII.     REQUEST FOR RELIEF

                     66.     Plaintiffs respectfully requests that Defendants be cited to appear and answer, and

             that Plaintiffs be granted judgment including the following relief:

                             a.      all damages caused by Defendants’ breaches of the EPC Contracts;

                             b.      pre-judgment and post-judgment interest at the highest allowable rate;

                             c.      costs and reasonable and necessary attorneys’ fees; and

                             d.      all other relief to which Plaintiffs are entitled.




                                                                 14



Copy from re:SearchTX
                  Case 24-90377 Document 1003-2 Filed in TXSB on 07/31/24 Page 26 of 86




                                                 Respectfully Submitted,

                                                 s/ Mike Stenglein
                                                 Mike Stenglein
                                                 State Bar No. 00791729
                                                 mstenglein@kslaw.com
                                                 Christopher H. Taylor
                                                 State Bar No. 24013606
                                                 ctaylor@kslaw.com
                                                 KING & SPALDING LLP
                                                 500 West 2nd Street, Suite 1800
                                                 Austin, Texas 78701
                                                 (512) 457-2000 (telephone)

                                                 Benjamin T. Jones
                                                 bjones@kslaw.com
                                                 California Bar No. 274409
                                                 Motion for Admission pro hac vice forthcoming
                                                 KING & SPALDING LLP
                                                 50 California Street, Suite 3300
                                                 San Francisco, CA 94111
                                                 (415) 318-1200 (telephone)

                                                 ATTORNEYS FOR PLAINTIFFS FLNG
                                                 LIQUEFACTION, LLC; FLNG
                                                 LIQUEFACTION 2, LLC; AND FLNG
                                                 LIQUEFACTION 3, LLC




                                                   15



Copy from re:SearchTX
                  Case 24-90377 Document 1003-2 Filed in TXSB on 07/31/24 Page 27 of 86

                                 Automated Certificate of eService
        This automated certificate of service was created by the efiling system.
        The filer served this document via email generated by the efiling system
        on the date and to the persons listed below. The rules governing
        certificates of service have not changed. Filers must still provide a
        certificate of service that complies with all applicable rules.

        Christopher Taylor on behalf of Christopher Taylor
        Bar No. 24013606
        ctaylor@kslaw.com
        Envelope ID: 86955386
        Filing Code Description: Petition
        Filing Description: Plaintiffs' Original Petition
        Status as of 4/23/2024 11:18 AM CST

        Associated Case Party: FLNG Liquefaction, LLC

         Name                    BarNumber    Email                 TimestampSubmitted      Status

         Mike Stenglein                       mstenglein@kslaw.com 4/23/2024 10:57:51 AM    SENT

         Christopher Harris Taylor 24013606   ctaylor@kslaw.com     4/23/2024 10:57:51 AM   SENT

         Benjamin Jones                       bjones@kslaw.com      4/23/2024 10:57:51 AM   SENT

         Jaden Harris                         jharris@kslaw.com     4/23/2024 10:57:51 AM   SENT




Copy from re:SearchTX
Case 24-90377 Document 1003-2 Filed in TXSB on 07/31/24 Page 28 of 86




                               C
                    Case 24-90377 Document 1003-2 Filed in TXSB on 07/31/24 Page 29 of 86 4/23/2024 12:43 PM

                                 Marilyn Burgess                                                            Marilyn Burgess - District Clerk Harris County
                                                                                                                                 Envelope No. 86963708
                                                                                                                                       By: Talitha McCarty
                                                                                                                              Filed: 4/23/2024 12:43 PM
                                 HARRIS COUNTY DISTRICT CLERK
                                 201 Caroline | P.O. Box 4651 | Houston, Texas 77210-4651 | 832-927-5800 | www.hcdistrictclerk.com


                                                      Request for Issuance of Service
      CASE NUMBER: 2024-26036 _____________________                  CURRENT COURT: 133rd Judicial District of Harris County

      Name(s) of Documents to be served: Plaintiffs’ Original Petition ________________________________________________________________

      FILE DATE: _______04/23/2024_______________ Month/Day/Year
      SERVICE TO BE ISSUED ON (Please List Exactly As The Name Appears In The Pleading To Be
      Served):
      Issue Service to: CB&I Inc. _________________________________________________________________
      Address of Service: 1999 Bryan Street, Suite 900 _________________________________________________
      City, State & Zip: __Dallas, Texas 75201_______________________________________________________
      Agent (if applicable) CT Corporation____________________________________________________
      TYPE OF SERVICE/PROCESS TO BE ISSUED: (Check the proper Box)
           Citation           Citation by Posting                  Citation by Publication                   Citations Rule 106 Service
          Citation Scire Facias         Newspaper______________
          Temporary Restraining Order                            Precept                                       Notice
          Protective Order
          Secretary of State Citation ($12.00)                  Capias (not by E-Issuance)                     Attachment (not by E-Issuance)
          Certiorari                                            Highway Commission/Texas Department of Transportation ($12.00)

          Commissioner of Insurance ($12.00)                   Hague Convention ($16.00)                       Garnishment
          Habeas Corpus (not by E-Issuance)                     Injunction                                     Sequestration
          Subpoena
          Other (Please Describe) ___________________________________
      (See additional Forms for Post Judgment Service)
          SERVICE BY (check one):
          ATTORNEY PICK-UP (phone) __________________               E-Issuance by District Clerk
          MAIL to attorney at: ___________________                 (No Service Copy Fees Charged)
          CONSTABLE                                Note: The email registered with EfileTexas.gov must be
          CERTIFIED MAIL by CONSTABLE                    used to retrieve the E-issuance Service Documents.
          CERTIFIED MAIL by DISTRICT CLERK               Visit www.hcdistrictclerk.com for more instructions.



          CIVIL PROCESS SERVER - Authorized Person to Pick-up: ________________ Phone: __________
          OTHER, explain ______________________________________________________________________

      Issuance of Service Requested By: Attorney/Party Name: ___________________Bar # or ID ___________
      Mailing Address:______________________________________
      Phone Number:__________________________________________

Copy from re:SearchTX
                  Case 24-90377 Document 1003-2 Filed in TXSB on 07/31/24 Page 30 of 86

                                 Automated Certificate of eService
        This automated certificate of service was created by the efiling system.
        The filer served this document via email generated by the efiling system
        on the date and to the persons listed below. The rules governing
        certificates of service have not changed. Filers must still provide a
        certificate of service that complies with all applicable rules.

        Christopher Taylor on behalf of Christopher Taylor
        Bar No. 24013606
        ctaylor@kslaw.com
        Envelope ID: 86963708
        Filing Code Description: Request
        Filing Description: Request for Issuance of Citation - CBI Inc.
        Status as of 4/23/2024 1:21 PM CST

        Case Contacts

         Name                    BarNumber    Email                 TimestampSubmitted      Status

         Christopher Harris Taylor 24013606   ctaylor@kslaw.com     4/23/2024 12:43:02 PM   SENT

         Mike Stenglein                       mstenglein@kslaw.com 4/23/2024 12:43:02 PM    SENT

         Benjamin Jones                       bjones@kslaw.com      4/23/2024 12:43:02 PM   SENT

         Jaden Harris                         jharris@kslaw.com     4/23/2024 12:43:02 PM   SENT




Copy from re:SearchTX
Case 24-90377 Document 1003-2 Filed in TXSB on 07/31/24 Page 31 of 86




                               D
                    Case 24-90377 Document 1003-2 Filed in TXSB on 07/31/24 Page 32 of 86 4/23/2024 12:43 PM

                                 Marilyn Burgess                                                            Marilyn Burgess - District Clerk Harris County
                                                                                                                                 Envelope No. 86963708
                                                                                                                                       By: Talitha McCarty
                                                                                                                              Filed: 4/23/2024 12:43 PM
                                 HARRIS COUNTY DISTRICT CLERK
                                 201 Caroline | P.O. Box 4651 | Houston, Texas 77210-4651 | 832-927-5800 | www.hcdistrictclerk.com


                                                      Request for Issuance of Service
      CASE NUMBER: 2024-26036 _____________________                  CURRENT COURT: 133rd Judicial District of Harris County

      Name(s) of Documents to be served: Plaintiffs’ Original Petition ________________________________________________________________

      FILE DATE: _______04/23/2024_______________ Month/Day/Year
      SERVICE TO BE ISSUED ON (Please List Exactly As The Name Appears In The Pleading To Be
      Served):
      Issue Service to: Chiyoda International Corporation ______________________________________________
      Address of Service: 1999 Bryan Street, Suite 900 _________________________________________________
      City, State & Zip: __Dallas, Texas 75201_______________________________________________________
      Agent (if applicable) CT Corporation____________________________________________________
      TYPE OF SERVICE/PROCESS TO BE ISSUED: (Check the proper Box)
           Citation           Citation by Posting                  Citation by Publication                   Citations Rule 106 Service
          Citation Scire Facias         Newspaper______________
          Temporary Restraining Order                            Precept                                       Notice
          Protective Order
          Secretary of State Citation ($12.00)                  Capias (not by E-Issuance)                     Attachment (not by E-Issuance)
          Certiorari                                            Highway Commission/Texas Department of Transportation ($12.00)

          Commissioner of Insurance ($12.00)                   Hague Convention ($16.00)                       Garnishment
          Habeas Corpus (not by E-Issuance)                     Injunction                                     Sequestration
          Subpoena
          Other (Please Describe) ___________________________________
      (See additional Forms for Post Judgment Service)
          SERVICE BY (check one):
          ATTORNEY PICK-UP (phone) __________________               E-Issuance by District Clerk
          MAIL to attorney at: ___________________                 (No Service Copy Fees Charged)
          CONSTABLE                                Note: The email registered with EfileTexas.gov must be
          CERTIFIED MAIL by CONSTABLE                    used to retrieve the E-issuance Service Documents.
          CERTIFIED MAIL by DISTRICT CLERK               Visit www.hcdistrictclerk.com for more instructions.



          CIVIL PROCESS SERVER - Authorized Person to Pick-up: ________________ Phone: __________
          OTHER, explain ______________________________________________________________________

      Issuance of Service Requested By: Attorney/Party Name: ___________________Bar # or ID ___________
      Mailing Address:______________________________________
      Phone Number:__________________________________________

Copy from re:SearchTX
                  Case 24-90377 Document 1003-2 Filed in TXSB on 07/31/24 Page 33 of 86

                                 Automated Certificate of eService
        This automated certificate of service was created by the efiling system.
        The filer served this document via email generated by the efiling system
        on the date and to the persons listed below. The rules governing
        certificates of service have not changed. Filers must still provide a
        certificate of service that complies with all applicable rules.

        Christopher Taylor on behalf of Christopher Taylor
        Bar No. 24013606
        ctaylor@kslaw.com
        Envelope ID: 86963708
        Filing Code Description: Request
        Filing Description: Request for Issuance of Citation - CBI Inc.
        Status as of 4/23/2024 1:21 PM CST

        Case Contacts

         Name                    BarNumber    Email                 TimestampSubmitted      Status

         Christopher Harris Taylor 24013606   ctaylor@kslaw.com     4/23/2024 12:43:02 PM   SENT

         Mike Stenglein                       mstenglein@kslaw.com 4/23/2024 12:43:02 PM    SENT

         Benjamin Jones                       bjones@kslaw.com      4/23/2024 12:43:02 PM   SENT

         Jaden Harris                         jharris@kslaw.com     4/23/2024 12:43:02 PM   SENT




Copy from re:SearchTX
Case 24-90377 Document 1003-2 Filed in TXSB on 07/31/24 Page 34 of 86




                               E
                    Case 24-90377 Document 1003-2 Filed in TXSB on 07/31/24 Page 35 of 86 4/23/2024 12:43 PM

                                 Marilyn Burgess                                                            Marilyn Burgess - District Clerk Harris County
                                                                                                                                 Envelope No. 86963708
                                                                                                                                       By: Talitha McCarty
                                                                                                                              Filed: 4/23/2024 12:43 PM
                                 HARRIS COUNTY DISTRICT CLERK
                                 201 Caroline | P.O. Box 4651 | Houston, Texas 77210-4651 | 832-927-5800 | www.hcdistrictclerk.com


                                                      Request for Issuance of Service
      CASE NUMBER: 2024-26036 _____________________                  CURRENT COURT: 133rd Judicial District of Harris County

      Name(s) of Documents to be served: Plaintiffs’ Original Petition ________________________________________________________________

      FILE DATE: _______04/23/2024_______________ Month/Day/Year
      SERVICE TO BE ISSUED ON (Please List Exactly As The Name Appears In The Pleading To Be
      Served):
      Issue Service to: Zachry Industrial, Inc. ________________________________________________________
      Address of Service: 1999 Bryan Street, Suite 900 _________________________________________________
      City, State & Zip: __Dallas, Texas 75201_______________________________________________________
      Agent (if applicable) CT Corporation____________________________________________________
      TYPE OF SERVICE/PROCESS TO BE ISSUED: (Check the proper Box)
           Citation           Citation by Posting                  Citation by Publication                   Citations Rule 106 Service
          Citation Scire Facias         Newspaper______________
          Temporary Restraining Order                            Precept                                       Notice
          Protective Order
          Secretary of State Citation ($12.00)                  Capias (not by E-Issuance)                     Attachment (not by E-Issuance)
          Certiorari                                            Highway Commission/Texas Department of Transportation ($12.00)

          Commissioner of Insurance ($12.00)                   Hague Convention ($16.00)                       Garnishment
          Habeas Corpus (not by E-Issuance)                     Injunction                                     Sequestration
          Subpoena
          Other (Please Describe) ___________________________________
      (See additional Forms for Post Judgment Service)
          SERVICE BY (check one):
          ATTORNEY PICK-UP (phone) __________________               E-Issuance by District Clerk
          MAIL to attorney at: ___________________                 (No Service Copy Fees Charged)
          CONSTABLE                                Note: The email registered with EfileTexas.gov must be
          CERTIFIED MAIL by CONSTABLE                    used to retrieve the E-issuance Service Documents.
          CERTIFIED MAIL by DISTRICT CLERK               Visit www.hcdistrictclerk.com for more instructions.



          CIVIL PROCESS SERVER - Authorized Person to Pick-up: ________________ Phone: __________
          OTHER, explain ______________________________________________________________________

      Issuance of Service Requested By: Attorney/Party Name: ___________________Bar # or ID ___________
      Mailing Address:______________________________________
      Phone Number:__________________________________________

Copy from re:SearchTX
                  Case 24-90377 Document 1003-2 Filed in TXSB on 07/31/24 Page 36 of 86

                                 Automated Certificate of eService
        This automated certificate of service was created by the efiling system.
        The filer served this document via email generated by the efiling system
        on the date and to the persons listed below. The rules governing
        certificates of service have not changed. Filers must still provide a
        certificate of service that complies with all applicable rules.

        Christopher Taylor on behalf of Christopher Taylor
        Bar No. 24013606
        ctaylor@kslaw.com
        Envelope ID: 86963708
        Filing Code Description: Request
        Filing Description: Request for Issuance of Citation - CBI Inc.
        Status as of 4/23/2024 1:21 PM CST

        Case Contacts

         Name                    BarNumber    Email                 TimestampSubmitted      Status

         Christopher Harris Taylor 24013606   ctaylor@kslaw.com     4/23/2024 12:43:02 PM   SENT

         Mike Stenglein                       mstenglein@kslaw.com 4/23/2024 12:43:02 PM    SENT

         Benjamin Jones                       bjones@kslaw.com      4/23/2024 12:43:02 PM   SENT

         Jaden Harris                         jharris@kslaw.com     4/23/2024 12:43:02 PM   SENT




Copy from re:SearchTX
Case 24-90377 Document 1003-2 Filed in TXSB on 07/31/24 Page 37 of 86




                               F
                 Case 24-90377 Document 1003-2 Filed in TXSB on 07/31/24 Page 38 of 86             5/6/2024 11:51 AM
                                                                        Marilyn Burgess - District Clerk Harris County
                                                                                             Envelope No. 87408427
                                                                                                         By: C Ougrah
                                                                                            Filed: 5/6/2024 11:51 AM




Copy from re:SearchTX
                 Case 24-90377 Document 1003-2 Filed in TXSB on 07/31/24 Page 39 of 86




Copy from re:SearchTX
                  Case 24-90377 Document 1003-2 Filed in TXSB on 07/31/24 Page 40 of 86




Copy from re:SearchTX
Case 24-90377 Document 1003-2 Filed in TXSB on 07/31/24 Page 41 of 86




                               G
                  Case 24-90377 Document 1003-2 Filed in TXSB on 07/31/24 Page 42 of 86             5/6/2024 11:51 AM
                                                                         Marilyn Burgess - District Clerk Harris County
                                                                                              Envelope No. 87408427
                                                                                                          By: C Ougrah
                                                                                             Filed: 5/6/2024 11:51 AM




Copy from re:SearchTX
                 Case 24-90377 Document 1003-2 Filed in TXSB on 07/31/24 Page 43 of 86




Copy from re:SearchTX
                  Case 24-90377 Document 1003-2 Filed in TXSB on 07/31/24 Page 44 of 86




Copy from re:SearchTX
Case 24-90377 Document 1003-2 Filed in TXSB on 07/31/24 Page 45 of 86




                               H
                  Case 24-90377 Document 1003-2 Filed in TXSB on 07/31/24 Page 46 of 86             5/6/2024 11:51 AM
                                                                         Marilyn Burgess - District Clerk Harris County
                                                                                              Envelope No. 87408427
                                                                                                          By: C Ougrah
                                                                                             Filed: 5/6/2024 11:51 AM




Copy from re:SearchTX
                 Case 24-90377 Document 1003-2 Filed in TXSB on 07/31/24 Page 47 of 86




Copy from re:SearchTX
                 Case 24-90377 Document 1003-2 Filed in TXSB on 07/31/24 Page 48 of 86




Copy from re:SearchTX
Case 24-90377 Document 1003-2 Filed in TXSB on 07/31/24 Page 49 of 86




                                I
                 Case 24-90377 Document 1003-2 Filed in TXSB on 07/31/24 Page 50 of 86             5/15/2024 3:32 PM
                                                                        Marilyn Burgess - District Clerk Harris County
                                                                                             Envelope No. 87782338
                                                                                                         By: C Ougrah
                                                                                            Filed: 5/15/2024 3:32 PM




Copy from re:SearchTX
                 Case 24-90377 Document 1003-2 Filed in TXSB on 07/31/24 Page 51 of 86




Copy from re:SearchTX
Case 24-90377 Document 1003-2 Filed in TXSB on 07/31/24 Page 52 of 86




                                J
                  Case 24-90377 Document 1003-2 Filed in TXSB on 07/31/24 Page 53 of 86                                 6/14/2024 3:11 PM
                                                                                             Marilyn Burgess - District Clerk Harris County
                                                                                                                  Envelope No. 88832039
                                                                                                                    By: EVELYN PALMER
                                                                                                                 Filed: 6/14/2024 3:11 PM



                                                       Cause No. 2024-26036


             FLNG LIQUEFACTION, LLC; FLNG                            §       IN THE DISTRICT COURT
             LIQUEFACTION 2, LLC; AND FLNG                           §
             LIQUEFACTION 3, LLC                                     §
                                                                     §
                     Plaintiffs,                                     §
                                                                     §
             v.                                                      §       133RD JUDICIAL DISTRICT
                                                                     §
             CB&I INC.; ZACHRY INDUSTRIAL,                           §
             INC.; AND CHIYODA                                       §
             INTERNATIONAL CORPORATION                               §
                                                                     §
                     Defendants.                                     §       HARRIS COUNTY, TEXAS


                                       NOTICE OF SUGGESTION OF BANKRUPTCY
                                       AND AUTOMATIC STAY OF PROCEEDINGS

                     PLEASE TAKE NOTICE that on May 21, 2024 (the “Petition Date”), Zachry Holdings,

             Inc., and its debtor affiliates (collectively, the “Debtors”) filed voluntary petitions for relief under

             title 11 of the United States Code, 11 U.S.C. §§ 101-1532, et seq. (the “Bankruptcy Code”) in

             the United States Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Court”).

             A copy of the voluntary petition of the lead Debtor, Zachry Holdings, Inc., is attached hereto as

             Exhibit A. The Debtors’ chapter 11 cases (the “Chapter 11 Cases”) are pending before the

             Honorable Marvin Isgur, United States Bankruptcy Judge, and are being jointly administered

             under the caption Zachry Holdings, Inc., Case No. 24-90377.

                     PLEASE TAKE FURTHER NOTICE that the Debtors are authorized to continue to

             operate their business properties as debtors and debtors in possession pursuant to sections 1107(a)

             and 1108 of the Bankruptcy Code.




Copy from re:SearchTX
                  Case 24-90377 Document 1003-2 Filed in TXSB on 07/31/24 Page 54 of 86




                    PLEASE TAKE FURTHER NOTICE that pursuant to section 362(a) of the Bankruptcy

             Code, the Debtors’ filing of their respective voluntary petitions automatically “operates as a stay,

             applicable to all entities, of—”

                        the commencement or continuation, including the issuance or employment of

                        process, of a judicial, administrative, or other action or proceeding against the

                        debtor that was or could have been commenced before the commencement of

                        the case under this title, or to recover a claim against the debtor that arose before

                        the commencement of the case under this title; (2) the enforcement, against the

                        debtor or against property of the estate, of a judgment obtained before the

                        commencement of the case under this title; (3) any act to obtain possession of

                        property of the estate or of property from the estate or to exercise control over

                        property of the estate; (4) any act to create, perfect, or enforce any lien against

                        property of the estate; (5) any act to create, perfect, or enforce against property

                        of the debtor any lien to the extent that such lien secures a claim that arose

                        before the commencement of the case under this title; (6) any act to collect,

                        assess, or recover a claim against the debtor that arose before the

                        commencement of the case under this title; (7) the setoff of any debt owing to

                        the debtor that arose before the commencement of the case under this title

                        against any claim against the debtor; and (8) the commencement or continuation

                        of a proceeding before the United States Tax Court concerning a tax liability of

                        a debtor that is a corporation for a taxable period the bankruptcy court may

                        determine or concerning the tax liability of a debtor who is an individual for a

                        taxable period ending before the date of the order for relief under this title.




                                                               2

Copy from re:SearchTX
                  Case 24-90377 Document 1003-2 Filed in TXSB on 07/31/24 Page 55 of 86




             11 U.S.C. § 362(a)(1)–(8) (enumerating the categories of actions automatically stayed upon filing

             a chapter 11 petition) (the “Automatic Stay”). 1 No order has been sought or entered in the Chapter

             11 Cases granting any relief to any party from the Automatic Stay.

                      PLEASE TAKE FURTHER NOTICE that any action taken against the Debtors without

             obtaining from the Bankruptcy Court relief from the Automatic Stay may be void ab initio and

             may be subject to findings of contempt and the assessment of penalties and fines for violation of

             the Automatic Stay. Any party wishing to take action against the Debtors should contact the

             Debtors’ counsel before taking any action in the above-captioned proceeding to ensure that such

             action does not constitute a violation of the Automatic Stay. The Debtors reserve and retain all

             rights to seek relief in the Bankruptcy Court from any judgment, order, or ruling entered in

             violation of the Automatic Stay and to seek entry of an order of the Bankruptcy Court enforcing

             the Automatic Stay against any person that has taken any action in violation of the Automatic Stay.

                      PLEASE TAKE FURTHER NOTICE that additional information regarding the status

             of the Chapter 11 Cases may be obtained by reviewing the docket of the Chapter 11 Cases,

             available electronically at https://ecf.txsd.uscourts.gov (PACER login and password required) or

             free of charge via the website maintained by the Debtors’ proposed claims and noticing agent,

             Kurtzman Carson Consultants LLC, at https://www.kccllc.net/zhi.




             1
                 Nothing herein shall constitute a waiver of the Debtors’ rights to assert any claims, counterclaims, defenses, rights
                 of setoff or recoupment, or any other claims against any party to the above-captioned case.



                                                                        3

Copy from re:SearchTX
                  Case 24-90377 Document 1003-2 Filed in TXSB on 07/31/24 Page 56 of 86




              Dated: June 14, 2024                                   Respectfully submitted,

                                                                     /s/ Jeffrie B. Lewis
                                                                     Assistant General Counsel
                                                                     Zachry Industrial, Inc.
                                                                     527 Logwood Ave.
                                                                     San Antonio, TX 78221
                                                                     (210) 288 - 5717
                                                                     lewisjx@zachrygroup.com




                                                     Certificate of Service

                     I, Jeffrie B. Lewis, certify that on June 14, 2024, I caused to be served, via e-file notification
             and first class mail a true and correct copy of the foregoing Notice of Suggestion of Bankruptcy
             and Automatic Stay of Proceedings, on all known counsel of record in accordance with the Texas
             Rules of Civil Procedure.


             Part(ies) receiving service:

             Mike Stenglein
             State Bar No. 00791729
             mstenglein@kslaw.com
             Christopher H. Taylor
             State Bar No. 24013606
             ctaylor@kslaw.com
             KING & SPALDING LLP
             500 West 2nd Street, Suite 1800
             Austin, Texas 78701
             (512) 457-2000 (telephone)

             Benjamin T. Jones
             bjones@kslaw.com
             California Bar No. 274409
             KING & SPALDING LLP
             50 California Street, Suite 3300
             San Francisco, CA 94111
             (415) 318-1200 (telephone)




                                                                 4

Copy from re:SearchTX
                  Case 24-90377 Document 1003-2 Filed in TXSB on 07/31/24 Page 57 of 86

                                 Automated Certificate of eService
        This automated certificate of service was created by the efiling system.
        The filer served this document via email generated by the efiling system
        on the date and to the persons listed below. The rules governing
        certificates of service have not changed. Filers must still provide a
        certificate of service that complies with all applicable rules.

        FAITH GINGRICH on behalf of Jeffrie Lewis
        Bar No. 24071785
        gingrichfa@zachrygroup.com
        Envelope ID: 88832039
        Filing Code Description: Notice
        Filing Description: Notice
        Status as of 6/14/2024 3:20 PM CST

        Case Contacts

         Name                    BarNumber    Email                 TimestampSubmitted     Status

         Christopher Harris Taylor 24013606   ctaylor@kslaw.com     6/14/2024 3:11:13 PM   SENT

         Mike Stenglein                       mstenglein@kslaw.com 6/14/2024 3:11:13 PM    SENT

         Benjamin Jones                       bjones@kslaw.com      6/14/2024 3:11:13 PM   SENT

         Jaden Harris                         jharris@kslaw.com     6/14/2024 3:11:13 PM   SENT




Copy from re:SearchTX
                  Case 24-90377 Document 1003-2 Filed in TXSB on 07/31/24 Page 58 of 86




                                                  Exhibit A

                                  Voluntary Petition of Zachry Holdings, Inc.
                                   Under Chapter of the Bankruptcy Code




Copy from re:SearchTX
                      Case
                         Case
                           24-90377
                              24-90377
                                     Document
                                        Document
                                              1003-2
                                                 1 Filed
                                                      Filed
                                                          in in
                                                             TXSB
                                                                TXSB
                                                                   onon
                                                                      05/21/24
                                                                        07/31/24Page
                                                                                  Page
                                                                                     1 of
                                                                                       5928
                                                                                          of 86

       Fill in this information to identify the case:

       United States Bankruptcy Court for the:


       Southern
       ____________________             Texas
                            District of _________________
                                              (State)
                                                                 11
       Case number (If known): _________________________ Chapter _____                                                                   Check if this is an
                                                                                                                                            amended filing




      Official Form 201
      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        06/22

      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
      number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




       1.   Debtor’s name                           Zachry Holdings, Inc.
                                                    ______________________________________________________________________________________________________




       2.   All other names debtor used             ______________________________________________________________________________________________________
            in the last 8 years                     ______________________________________________________________________________________________________
                                                    ______________________________________________________________________________________________________
            Include any assumed names,
                                                    ______________________________________________________________________________________________________
            trade names, and doing business
            as names                                ______________________________________________________________________________________________________




       3.   Debtor’s federal Employer                2 ___
                                                    ___      1 ___
                                                        6 – ___ 2 ___
                                                                   5 ___
                                                                      6 ___
                                                                         8 ___
                                                                            1 ___
                                                                               4
            Identification Number (EIN)



       4.   Debtor’s address                        Principal place of business                                Mailing address, if different from principal place
                                                                                                               of business

                                                    527         Logwood Avenue
                                                    ______________________________________________             _______________________________________________
                                                    Number     Street                                          Number     Street

                                                    ______________________________________________             P.O. Box 240130
                                                                                                               _______________________________________________
                                                                                                               P.O. Box

                                                    San Antonio                 TX       78221
                                                    ______________________________________________             San Antonio                TX       78224
                                                                                                               _______________________________________________
                                                    City                        State    ZIP Code              City                      State      ZIP Code


                                                                                                               Location of principal assets, if different from
                                                                                                               principal place of business
                                                    Bexar County
                                                    ______________________________________________
                                                    County                                                     _______________________________________________
                                                                                                               Number     Street

                                                                                                               _______________________________________________

                                                                                                               _______________________________________________
                                                                                                               City                      State      ZIP Code




       5.   Debtor’s website (URL)                  https://zachrygroup.com
                                                    ____________________________________________________________________________________________________




      Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1


Copy from re:SearchTX
                       Case
                          Case
                            24-90377
                               24-90377
                                      Document
                                         Document
                                               1003-2
                                                  1 Filed
                                                       Filed
                                                           in in
                                                              TXSB
                                                                 TXSB
                                                                    onon
                                                                       05/21/24
                                                                         07/31/24Page
                                                                                   Page
                                                                                      2 of
                                                                                        6028
                                                                                           of 86

      Debtor        Zachry Holdings, Inc.
                    _______________________________________________________                       Case number (if known)_____________________________________
                    Name



                                                ■ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                
       6.   Type of debtor
                                                 Partnership (excluding LLP)
                                                 Other. Specify: __________________________________________________________________

                                                A. Check one:
       7.   Describe debtor’s business
                                                 Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                 Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                 Railroad (as defined in 11 U.S.C. § 101(44))
                                                 Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                 Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                 Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                                ■ None of the above
                                                

                                                B. Check all that apply:

                                                 Tax-exempt entity (as described in 26 U.S.C. § 501)
                                                 Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                   § 80a-3)
                                                 Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                                C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                   http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                    2 ___
                                                   ___ 3 ___
                                                          7 ___
                                                             9

       8.   Under which chapter of the          Check one:
            Bankruptcy Code is the
            debtor filing?                       Chapter 7
                                                 Chapter 9
                                                ■ Chapter 11. Check all that apply:
                                                
            A debtor who is a “small business
            debtor” must check the first sub-
                                                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
            box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
            § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
            under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
            (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
            “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
            check the second sub-box.                           
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                    less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                                    Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                                    statement of operations, cash-flow statement, and federal income tax return, or if
                                                                    any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                                    § 1116(1)(B).

                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of
                                                                    creditors, in accordance with 11 U.S.C. § 1126(b).

                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                    Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                    Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                    for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                    12b-2.
                                                 Chapter 12




       Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2


Copy from re:SearchTX
                        Case
                           Case
                             24-90377
                                24-90377
                                       Document
                                          Document
                                                1003-2
                                                   1 Filed
                                                        Filed
                                                            in in
                                                               TXSB
                                                                  TXSB
                                                                     onon
                                                                        05/21/24
                                                                          07/31/24Page
                                                                                    Page
                                                                                       3 of
                                                                                         6128
                                                                                            of 86

      Debtor         Zachry Holdings, Inc.
                     _______________________________________________________                      Case number (if known)_____________________________________
                     Name



       9.   Were prior bankruptcy cases        ■ No
                                               
            filed by or against the debtor
            within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                                   MM / DD / YYYY
            If more than 2 cases, attach a
                                                         District _______________________ When _______________ Case number _________________________
            separate list.
                                                                                               MM / DD / YYYY


       10. Are any bankruptcy cases             No
            pending or being filed by a
            business partner or an                          See Schedule 1
                                               ■ Yes. Debtor _____________________________________________               Affiliate
                                                                                                           Relationship _________________________
            affiliate of the debtor?                              Southern District of Texas
                                                         District _____________________________________________ When               __________________
            List all cases. If more than 1,                                                                                        MM / DD / YYYY
            attach a separate list.                      Case number, if known ________________________________



       11. Why is the case filed in this       Check all that apply:
            district?
                                               ■ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                               
                                                   immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                   district.

                                               ■ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
                                               

       12. Does the debtor own or have         ■ No
                                               
            possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
            property or personal property
            that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
            attention?
                                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                            What is the hazard? _____________________________________________________________________

                                                         It needs to be physically secured or protected from the weather.
                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                            attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                            assets or other options).

                                                         Other _______________________________________________________________________________


                                                        Where is the property?_____________________________________________________________________
                                                                                  Number          Street

                                                                                  ____________________________________________________________________

                                                                                  _______________________________________         _______ ________________
                                                                                  City                                            State ZIP Code


                                                        Is the property insured?

                                                         No
                                                         Yes. Insurance agency ____________________________________________________________________
                                                                 Contact name     ____________________________________________________________________

                                                                 Phone            ________________________________




                    Statistical and administrative information




       Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3


Copy from re:SearchTX
                     Case
                        Case
                          24-90377
                             24-90377
                                    Document
                                       Document
                                             1003-2
                                                1 Filed
                                                     Filed
                                                         in in
                                                            TXSB
                                                               TXSB
                                                                  onon
                                                                     05/21/24
                                                                       07/31/24Page
                                                                                 Page
                                                                                    4 of
                                                                                      6228
                                                                                         of 86

      Debtor      Zachry Holdings, Inc.
                  _______________________________________________________                            Case number (if known)_____________________________________
                  Name




       13. Debtor’s estimation of              Check one:
           available funds                      Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                                1-49                             ■ 1,000-5,000
                                                                                                                              25,001-50,000
       14. Estimated number of
                                                50-99                             5,001-10,000                               50,001-100,000
           creditors (on a
           consolidated basis)
                                                100-199                           10,001-25,000                              More than 100,000
                                                200-999

                                                $0-$50,000                        $1,000,001-$10 million                     $500,000,001-$1 billion
       15. Estimated assets                                                                                                   ■ $1,000,000,001-$10 billion
                                                $50,001-$100,000                  $10,000,001-$50 million                   
           (on a consolidated
           basis)                               $100,001-$500,000                 $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                                $500,001-$1 million               $100,000,001-$500 million                  More than $50 billion

                                                $0-$50,000                        $1,000,001-$10 million                     $500,000,001-$1 billion
       16. Estimated liabilities                                                                                              ■ $1,000,000,001-$10 billion
                                                $50,001-$100,000                  $10,000,001-$50 million                   
           (on a consolidated
           basis)
                                                $100,001-$500,000                 $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                                $500,001-$1 million               $100,000,001-$500 million                  More than $50 billion


                  Request for Relief, Declaration, and Signatures


       WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
                  $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


       17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
           authorized representative of
                                                   petition.
           debtor
                                                   I have been authorized to file this petition on behalf of the debtor.

                                                   I have examined the information in this petition and have a reasonable belief that the information is true and
                                                   correct.


                                               I declare under penalty of perjury that the foregoing is true and correct.

                                                              5/21/2024
                                                  Executed on _________________
                                                              MM / DD / YYYY


                                                  /s/ James R. Old
                                                   _____________________________________________               James R. Old
                                                                                                               _______________________________________________
                                                  Signature of authorized representative of debtor             Printed name

                                                         General Counsel
                                                  Title _________________________________________




       Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4


Copy from re:SearchTX
                     Case
                        Case
                          24-90377
                             24-90377
                                    Document
                                       Document
                                             1003-2
                                                1 Filed
                                                     Filed
                                                         in in
                                                            TXSB
                                                               TXSB
                                                                  onon
                                                                     05/21/24
                                                                       07/31/24Page
                                                                                 Page
                                                                                    5 of
                                                                                      6328
                                                                                         of 86

      Debtor      Zachry Holdings, Inc.
                  _______________________________________________________                     Case number (if known)_____________________________________
                  Name




       18. Signature of attorney
                                               /s/ Charles R. Koster
                                                _____________________________________________            Date       5/21/2024
                                                                                                                    _________________
                                                Signature of attorney for debtor                                    MM    / DD / YYYY



                                               Charles R. Koster
                                               _________________________________________________________________________________________________
                                               Printed name
                                               White & Case LLP
                                               _________________________________________________________________________________________________
                                               Firm name
                                               609         Main Street, Suite 2900
                                               _________________________________________________________________________________________________
                                               Number      Street
                                               Houston
                                               ____________________________________________________             Texas
                                                                                                               ____________  77002-4403
                                                                                                                            ______________________________
                                               City                                                            State        ZIP Code

                                               (713) 496-9700
                                               ____________________________________                             charles.koster@whitecase.com
                                                                                                               __________________________________________
                                               Contact phone                                                   Email address



                                               24128278
                                               ______________________________________________________ Texas
                                                                                                      ____________
                                               Bar number                                             State




       Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5


Copy from re:SearchTX
                  Case
                     Case
                       24-90377
                          24-90377
                                 Document
                                    Document
                                          1003-2
                                             1 Filed
                                                  Filed
                                                      in in
                                                         TXSB
                                                            TXSB
                                                               onon
                                                                  05/21/24
                                                                    07/31/24Page
                                                                              Page
                                                                                 6 of
                                                                                   6428
                                                                                      of 86




                                                            Schedule 1

                                                       Affiliated Entities

             On the date hereof, each of the affiliated entities listed below (collectively, the “Debtors”) filed in
             this Court a petition for relief under chapter 11 of title 11 of the United States Code, 11 U.S.C. §§
             101 et seq., as amended. The Debtors have moved for joint administration of these cases under the
             case number assigned to the chapter 11 case of Zachry Holdings, Inc.

                                                   Debtor                          Corporate ID No.
                        1.   Zachry Holdings, Inc.                                     XX-XXXXXXX
                        2.   Zachry EPC Holdings, LLC                                  XX-XXXXXXX
                        3.   Zachry Engineering Corporation                            XX-XXXXXXX
                        4.   Zachry High Voltage Solutions, LLC                        XX-XXXXXXX
                        5.   ZEC New York, Inc.                                        XX-XXXXXXX
                        6.   UE Properties, Inc.                                       XX-XXXXXXX
                        7.   ZEC Michigan, Inc.                                        XX-XXXXXXX
                        8.   Zachry Industrial, Inc.                                   XX-XXXXXXX
                        9.   Zachry Constructors, LLC                                  XX-XXXXXXX
                        10. Moss Point Properties, LLC                                 XX-XXXXXXX
                        11. Zachry Enterprise Solutions, LLC                           XX-XXXXXXX
                        12. Zachry Nuclear, Inc.                                       XX-XXXXXXX
                        13. Zachry Nuclear Construction, Inc.                          XX-XXXXXXX
                        14. Zachry Nuclear Engineering, Inc.                           XX-XXXXXXX
                        15. Computer Simulation & Analysis, Inc.                       XX-XXXXXXX
                        16. Zachry Plant Services Holdings, Inc.                       XX-XXXXXXX
                        17. JVIC Fabrication, LLC                                      XX-XXXXXXX
                        18. Zachry Industrial Americas, Inc.                           XX-XXXXXXX
                        19. Zachry Maintenance Services, LLC                           XX-XXXXXXX
                        20. J.V. Industrial Companies, LLC                             XX-XXXXXXX
                        21. Madison Industrial Services Team, LLC                      XX-XXXXXXX




Copy from re:SearchTX
                   Case
                      Case
                        24-90377
                           24-90377
                                  Document
                                     Document
                                           1003-2
                                              1 Filed
                                                   Filed
                                                       in in
                                                          TXSB
                                                             TXSB
                                                                onon
                                                                   05/21/24
                                                                     07/31/24Page
                                                                               Page
                                                                                  7 of
                                                                                    6528
                                                                                       of 86




                                     IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                                HOUSTON DIVISION

                                                                                )
                 In re:                                                         )   Chapter 11
                                                                                )
                 ZACHRY HOLDINGS, INC., et al.1                                 )   Case No. 24-______ (___)
                                                                                )
                                           Debtors.                             )   (Joint Administration Requested)
                                                                                )

                             CONSOLIDATED CORPORATE OWNERSHIP STATEMENT
                             AND LIST OF EQUITY INTEREST HOLDERS PURSUANT TO
                                 FED. BANKR. P. 1007(A)(1), 1007(A)(3), AND 7007.1

                      Pursuant to rules 1007(a)(1), 1007(a)(3), and 7007.1 of the Federal Rules of Bankruptcy

             Procedure (the “Bankruptcy Rules”), attached hereto as Exhibit A is an organizational list

             reflecting all of the ownership interests in the above-captioned debtor and its debtor affiliates, as

             debtors and debtors in possession (collectively, the “Debtors”). The Debtors respectfully represent

             as follows:

                      1.       The equity of each of the Debtors identified on Exhibit A is 100% owned by the

             entity identified as the equity holder thereof on Exhibit A.

                      2.       Zachry Holdings, Inc. is the direct or indirect parent of each of the other Debtors

             and its equity securities are wholly owned by non-debtor Zachry, LLC.




             1
                  The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification
                  number, are: Zachry Holdings, Inc. (6814); Zachry EPC Holdings, LLC (0077); Zachry Engineering Corporation
                  (3134); Zachry High Voltage Solutions, LLC (1090); ZEC New York, Inc. (5897); UE Properties, Inc. (2226);
                  ZEC Michigan, Inc. (4627); Zachry Industrial, Inc. (7583); Zachry Constructors, LLC (9094); Moss Point
                  Properties, LLC (1616); Zachry Enterprise Solutions, LLC (2706); Zachry Nuclear, Inc. (7807); Zachry Nuclear
                  Construction, Inc. (3241); Zachry Nuclear Engineering, Inc. (7568); Computer Simulation & Analysis, Inc.
                  (4097); Zachry Plant Services Holdings, Inc. (1383); JVIC Fabrication, LLC (9726); Zachry Industrial Americas,
                  Inc. (0902); Zachry Maintenance Services, LLC (19005); J.V. Industrial Companies, LLC (0821); Madison
                  Industrial Services Team, LLC (6261). The location of the debtors’ service address in these chapter 11 cases
                  is: P.O. Box 240130, San Antonio, Texas 78224.




Copy from re:SearchTX
                                                                                         Exhibit A




Copy from re:SearchTX
                                                                                                               %
                                                   Entity                        Equity Holder                              Last Known Address of Equity Holder
                                                                                                            Ownership
                                                                                                                                                                       Case




                        1.   Zachry Holdings, Inc.                   Zachry, LLC                              100%      527 Logwood Avenue, San Antonio, Texas 78221
                                                                                                                                                                          Case




                        2.   Zachry EPC Holdings, LLC                Zachry Holdings, Inc.                    100%      527 Logwood Avenue, San Antonio, Texas 78221
                                                                                                                                                                            24-90377




                        3.   Zachry Engineering Corporation          Zachry EPC Holdings, LLC                 100%      527 Logwood Avenue, San Antonio, Texas 78221
                                                                                                                                                                               24-90377




                        4.   Zachry High Voltage Solutions, LLC      Zachry Engineering Corporation           100%      527 Logwood Avenue, San Antonio, Texas 78221
                        5.   ZEC New York, Inc.                      Zachry Engineering Corporation           100%      527 Logwood Avenue, San Antonio, Texas 78221
                        6.   UE Properties, Inc.                     Zachry Engineering Corporation           100%      527 Logwood Avenue, San Antonio, Texas 78221
                                                                                                                                                                                      Document




                        7.   ZEC Michigan, Inc.                      Zachry Engineering Corporation           100%      527 Logwood Avenue, San Antonio, Texas 78221
                                                                                                                                                                                         Document




                        8.   Zachry Industrial, Inc.                 Zachry EPC Holdings, LLC                 100%      527 Logwood Avenue, San Antonio, Texas 78221
                                                                                                                                                                                               1003-2




                        9.   Zachry Construction, LLC                Zachry Industrial, Inc.                  100%      527 Logwood Avenue, San Antonio, Texas 78221
                                                                                                                                                                                                  1 Filed




                        10. Moss Point Properties, LLC               Zachry Industrial, Inc.                  100%      527 Logwood Avenue, San Antonio, Texas 78221
                                                                                                                                                                                                       Filed




                        11. Zachry Enterprise Solutions, LLC         Zachry Holdings, Inc.                    100%      527 Logwood Avenue, San Antonio, Texas 78221
                                                                                                                                                                                                           in in




                        12. Zachry Nuclear, Inc.                     Zachry Holdings, Inc.                    100%      527 Logwood Avenue, San Antonio, Texas 78221
                                                                                                                                                                                                              TXSB




                        13. Zachry Nuclear Corporation, Inc.         Zachry Nuclear, Inc.                     100%      527 Logwood Avenue, San Antonio, Texas 78221
                                                                                                                                                                                                                 TXSB
                                                                                                                                                                                                                    onon




                        14. Zachry Nuclear Engineering, Inc.         Zachry Nuclear, Inc.                     100%      527 Logwood Avenue, San Antonio, Texas 78221
                        15. Zachry Computer Simulation & Analysis,   Zachry Nuclear Engineering, Inc.         100%      527 Logwood Avenue, San Antonio, Texas 78221
                            Inc.
                                                                                                                                                                                                                       05/21/24




                        16. Zachry Plant Services Holdings, Inc.     Zachry Holdings, Inc.                    100%      527 Logwood Avenue, San Antonio, Texas 78221
                        17. JVIC Fabrication, LLC                    Zachry Plant Services Holdings, Inc.     100%      527 Logwood Avenue, San Antonio, Texas 78221
                                                                                                                                                                                                                         07/31/24Page




                        18. Zachry Industrial Americas, Inc.         JVIC Fabrication, LLC                    100%      527 Logwood Avenue, San Antonio, Texas 78221
                                                                                                                                                                                                                                   Page
                                                                                                                                                                                                                                      8 of




                        19. Zachry Maintenance Services, LLC         Zachry Plant Services Holdings, Inc.     100%      527 Logwood Avenue, San Antonio, Texas 78221
                                                                                                                                                                                                                                        6628




                        20. J.V. Industrial Companies, LLC           Zachry Plant Services Holdings, Inc.     100%      527 Logwood Avenue, San Antonio, Texas 78221
                                                                                                                                                                                                                                           of 86




                        21. Madison Industrial Services Team, LLC    J.V. Industrial Companies, LLC           100%      3741 Red Bluff Road, Pasadena, Texas 77503
                         Case
                            Case
                              24-90377
                                 24-90377
                                        Document
                                           Document
                                                 1003-2
                                                    1 Filed
                                                         Filed
                                                             in in
                                                                TXSB
                                                                   TXSB
                                                                      onon
                                                                         05/21/24
                                                                           07/31/24Page
                                                                                     Page
                                                                                        9 of
                                                                                          6728
                                                                                             of 86


          Fill in this information to identify the case:

          Debtor name Zachry Holdings, Inc.

          United States Bankruptcy Court for the: Southern                    District of Texas

          Case number (If known):
                                                                                        (State)
                                                                                                                                                    Check if this is an
                                                                                                                                                        amended filing




        Official Form 204
        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
        Unsecured Claims and Are Not Insiders                                                                                                                        12/15

        A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
        disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
        secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
        largest unsecured claims.


         Name of creditor and complete              Name, telephone number, and       Nature of the claim   Indicate if     Amount of unsecured claim
         mailing address, including zip code        email address of creditor         (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                                    contact                           debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                                      professional          unliquidated,   total claim amount and deduction for value of
                                                                                      services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                                      government
                                                                                      contracts)
                                                                                                                            Total claim, if    Deduction for       Unsecured
                                                                                                                            partially          value of            claim
                                                                                                                            secured            collateral or
                                                                                                                                               setoff
         SUNBELT RENTALS, INC.                    Michael Christian,                 Trade                  CUD                                                  $133,310,610
    1    1799 Innovation Pt,                      michael.christian@sunbeltrentals.c
         Fort Mill, SC 29715                      om, (803) 578-9413


         D REYNOLDS COMPANY, LLC                  Scott George,                       Trade                 CUD                                                  $17,576,934
    2    2680 Sylvania Cross Dr,                  sageorge@reynco.com,
         Fort Worth, TX 76137                     (210) 862-1148


         BO-MAC CONTRACTORS LTD                   Dan Brown                           Trade                 CUD                                                  $15,608,639
    3    1020 Lindbergh Drive                     danbrown@bo-mac.com
         Beaumont, TX, 77707                      (409) 842-2125


         BIGGE CRANE AND RIGGING CO.              Eric Jones,                         Trade                 CUD                                                  $14,746,479
    4    2400 Maury Street,                       ejones@bigge.com,
         Richmond, VA 23224                       (804) 271-9356


         RUSH RESOURCES, LLC                      John Rush Jr.,                      Trade                 CUD                                                  $12,566,163
    5    2781 County Road 639                     jrush@rushllc.com,
         Buna, TX, 77612                          (409) 781-5911


         MAMMOET USA, INC.                        Mike Hamic,                         Trade                 CUD                                                  $10,836,424
    6    20525 FM 521.                            mike.hamic@mammoet.com,
         Rosharon, TX 77583                       (281) 369-2200


         TECON SERVICES, INC.                     Cynthia Jaime,                      Trade                 CUD                                                  $10,125,679
    7    515 Garden Oaks Blvd.                    cjaime@teconservices.com,
         Houston, TX 77018                        (713) 691-2700


         GULFSPAN INDUSTRIAL, LLC                 Luis Gallardo,                      Trade                 CUD                                                  $7,997,804
    8    600 N Shepherd Dr, Suite 300,            lgallardo@gulfspan.net,
         Houston, TX 77007                        (409) 673-0800




    Modified Official Form 204      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                        page 1
Copy from re:SearchTX
                        Case
                          Case
                             24-90377
                               24-90377Document
                                         Document
                                                1003-2
                                                  1 Filed
                                                       Filed
                                                          in TXSB
                                                             in TXSB
                                                                  on on
                                                                     05/21/24
                                                                        07/31/24Page
                                                                                  Page
                                                                                     10 68
                                                                                        of 28
                                                                                           of 86


        Debtor       Zachry Holdings, Inc.                                                           Case number (if known)
                     Name




         Name of creditor and complete          Name, telephone number, and    Nature of the claim     Indicate if      Amount of unsecured claim
         mailing address, including zip code    email address of creditor      (for example, trade     claim is         If the claim is fully unsecured, fill in only unsecured
                                                contact                        debts, bank loans,      contingent,      claim amount. If claim is partially secured, fill in
                                                                               professional            unliquidated,    total claim amount and deduction for value of
                                                                               services, and           or disputed      collateral or setoff to calculate unsecured claim.
                                                                               government
                                                                               contracts)
                                                                                                                        Total claim, if    Deduction for       Unsecured
                                                                                                                        partially          value of            claim
                                                                                                                        secured            collateral or
                                                                                                                                           setoff

         SABER POWER SERVICES, LLC             Jared Penney,                  Trade                   CUD                                                    $5,854,479
    9    9841 Saber Power Lane,                jpenney@saberpower.com,
         Rosharon, TX 77583                    (713) 222-9102


         MMR CONSTRUCTORS, INC.                John Cloutre,                  Trade                   CUD                                                    $5,709,681
    10 15961 Airline Hwy.                      jclouatre@mmrgrp.com,
         Baton Rouge, LA 70817                 (225) 756-5090


         INSULATIONS, INC.                     Debbie Koper,                  Trade                   CUD                                                    $4,879,234
    11 880 W. Commerce Rd, Suite 104,          dkoper@insulationsinc.com,
         Harahan, LA 70123                     (504) 733-5033


         ISC CONSTRUCTORS, LLC                 Mario Rispone,                 Trade                   CUD                                                    $4,809,862
    12 20480 Highland Road,                    mrispone@iscgrp.com,
         Baton Rouge, LA 70817                 (225) 756-7585


         INNOVATIVE HEAT TREATMENT             Juan Solitaire,                Trade                   CUD                                                    $4,622,399
    13 SOLUTIONS                               j.solitaire@ihtsinc.com,
         11318 Hirsch Rd,                      (346) 207-8081
         Houston, TX 77016

         HOTARD COACHES, INC.                  Callen Hotard,                 Trade                   CUD                                                    $4,607,991
    14 2838 Touro Street,                      callen@hotard.com,
         New Orleans, LA 70122                 (504) 944-8660


         SYSTEM ONE HOLDINGS, LLC              Carla Snell,                   Trade                   CUD                                                    $4,529,021
    15 210 Sixth Avenue Suite 3100,            carla.snell@systemone.com,
         Pittsburgh, PA 15222                  (717) 701-9240


         PK INDUSTRIAL, LLC                    Landon Riggs,                  Trade                   CUD                                                    $4,346,948
    16 10811 E. Harry St,                      lriggs@pksti.com,
         Wichita, KS 67207                     (855) 759-2800


         CAJUN INDUSTRIES LLC                  William J Clouatre             Trade                   CUD                                                    $4,267,647
    17 1020 Lindbergh Drive,                   williamc@cajunusa.com
         Beaumont, TX, 77707                   (225) 753-5857


         CALCAM LOGISTICS &                    Lennie Stephens,               Trade                   CUD                                                    $3,915,946
    18 CONTRACTING, LLC                        lennie@calcam.net,
         3010 Spurlock Rd.,                    (601) 270-4965
         Nederland, TX 77627

         ANALYTIC STRESS RELIEVING, INC. Bryan Willis,                        Trade                   CUD                                                    $3,674,321
    19 3118 W Pinhook Rd #202,           bryan.willis@analyticstress.com,
         Lafayette, LA 70508             (281) 471-9600


         COMMONWEALTH ELECTRIC                 Scott Lamoreux,                 Trade                  CUD                                                    $3,628,994
    20 COMPANY OF THE MIDWEST                  slamoreux@commonwealthelectric.
         3910 South Street,                    com,
         Lincoln, NE 68506                     (402) 514-2646




    Modified Official Form 204     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                     page 2
Copy from re:SearchTX
                       Case
                         Case
                            24-90377
                              24-90377Document
                                        Document
                                               1003-2
                                                 1 Filed
                                                      Filed
                                                         in TXSB
                                                            in TXSB
                                                                 on on
                                                                    05/21/24
                                                                       07/31/24Page
                                                                                 Page
                                                                                    11 69
                                                                                       of 28
                                                                                          of 86

      Debtor        Zachry Holdings, Inc.                                                           Case number (if known)
                    Name




       Name of creditor and complete           Name, telephone number, and    Nature of the claim     Indicate if      Amount of unsecured claim
       mailing address, including zip code     email address of creditor      (for example, trade     claim is         If the claim is fully unsecured, fill in only unsecured
                                               contact                        debts, bank loans,      contingent,      claim amount. If claim is partially secured, fill in
                                                                              professional            unliquidated,    total claim amount and deduction for value of
                                                                              services, and           or disputed      collateral or setoff to calculate unsecured claim.
                                                                              government
                                                                              contracts)
                                                                                                                       Total claim, if    Deduction for       Unsecured
                                                                                                                       partially          value of            claim
                                                                                                                       secured            collateral or
                                                                                                                                          setoff

       FERGUSON ENTERPRISES, INC.            Chris Fadden,                    Trade                  CUD                                                    $3,537,084
     21 751 Lakefront Commons,               chris.fadden@ferguson.com,
       Newport News, VA, 23606               (330) 931-7078


       THOMPSON CONSTRUCTION                 Hal Turner,                      Trade                  CUD                                                    $3,459,913
    22 GROUP, INC.                           hturner@thompsonind.com,
       100 North Main Street,                (803) 972-1011
       Sumter, SC 29150

       P&I SUPPLY CO.                        Bruce Stallings,                 Trade                  CUD                                                    $3,219,621
    23 2220 N Fares Avenue,                  bstallings@pisupply.com,
       Evansville, IN 47711                  (812) 894-4531


       THOMPSON CONSTRUCTION                 Hal Turner,                      Trade                  CUD                                                    $3,049,882
    24 GROUP, INC.                           hturner@thompsonind.com,
       100 North Main Street,                (803) 972-1011
       Sumter, SC 29150

       TRADESMEN INTERNATIONAL, LLC          Dan Bennet,                       Trade                 CUD                                                    $2,908,191
    25 9760 Shepard Road,                    daniel.bennet@tradesmeninternatio
       Macedonia, OH 44056                   nal.com,
                                             (352) 246-4756

       SUN COAST RESOURCES LLC               Brian Robinson,                  Trade                  CUD                                                    $2,723,957
    26 6405 Calvalcade St.,                  legal@suncoastresources.com,
       Houston, TX 77026                     (800) 231-7584


       BAKER HUGHES HOLDINGS                 Randy Coghlin,                 Trade                    CUD                                                    $2,645,419
    27 17021 Aldine Westfield Rd.,           randy.coghlin@bakerhughes.com,
       Houson, TX 77073                      (713) 906-8407


       NES COMPANIES LP.                     Kimberly Tran                    Trade                  CUD                                                    $2,610,909
    28 PO Box 205572, Dallas                 kimberly.tran@nesgt.com
       TX, 75320-5572                        (346) 320-0709


       REDWINE ENTERPRISES INC               Pat Redwine                      Trade                  CUD                                                    $2,564,492
    29 2114 LEE STREET                       tredwinde@gt.rr.com
       NEDERLAND, TX, 77627                  (409)722-8373


       PORT ARTHUR TECHNICAL                 Reynald Reyes,                   Trade                  CUD                                                    $2,515,695
    30 SERVICES                              reynald.reyes@pa-ts.com,
       2901 Turtle Creek Dr.,                (587) 779-3201
       Port Arthur, TX 77642




    Modified Official Form 204    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                     page 3
Copy from re:SearchTX
                  Case
                    Case
                       24-90377
                         24-90377Document
                                   Document
                                          1003-2
                                            1 Filed
                                                 Filed
                                                    in TXSB
                                                       in TXSB
                                                            on on
                                                               05/21/24
                                                                  07/31/24Page
                                                                            Page
                                                                               12 70
                                                                                  of 28
                                                                                     of 86



                                       OMNIBUS RESOLUTIONS OF THE
                        BOARDS OF DIRECTORS, SOLE SHAREHOLDERS, AND SOLE MEMBERS
                                                              May 20, 2024
                      After due deliberation, (i) the members of the board of directors of Zachry Holdings, Inc.
             (the “Company”) and (ii) the undersigned, being the sole shareholder or the sole member, as the case may
             be, of each of the companies set forth on Annex A attached hereto (collectively, the “Companies,” and the
             governing body of each Company, each a “Governing Body”), do hereby consent to, adopt, and approve
             the following resolutions pursuant to the certification of incorporation or similar document (in each case,
             as amended or amended and restated to date) of each Company, as applicable, and the laws of the state of
             formation of each Company as set forth next to each Company’s name on Annex A:
             Chapter 11 Filing
                      WHEREAS, each Governing Body has reviewed and considered (a) the presentations by each
             Company’s management and financial and legal advisors regarding the liabilities and liquidity of each
             Company, the strategic alternatives available to it, and the impact of the foregoing on each Company’s
             businesses, (b) the information and advice previously provided to and reviewed by each Governing Body,
             and (c) the related matters reported on at the meeting of each Governing Body;
                     WHEREAS, in connection therewith, the Company seeks to appoint Mr. Mohsin Meghji as Chief
             Restructuring Officer of the Company upon the filing of the Chapter 11 Cases (as defined below);
                     WHEREAS, each Governing Body has had the opportunity to consult with each of the Companies’
             management and financial and legal advisors and fully consider each of the strategic alternatives available
             to the Companies; and
                      WHEREAS, based on their review of all available alternatives and advice provided by such
             financial and legal advisors, each Governing Body deems it advisable and in the best interest of each of the
             Companies, their creditors, employees, and other stakeholders to take the actions specified in the following
             resolutions.
                     NOW, THEREFORE, BE IT,
                      RESOLVED, that in the business judgment of each Governing Body, it is desirable and in the best
             interests of the Companies, their creditors, and other parties in interest to file, or cause to be filed, voluntary
             petitions for relief (the “Chapter 11 Cases”) under the provisions of chapter 11 of title 11 of the United
             States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the Southern District of
             Texas (the “Bankruptcy Court”) and any other petition for relief or recognition or other order that may be
             desirable under applicable law in the United States, and to take any and all actions, that they deem necessary
             or appropriate.
                     RESOLVED, that the officers of each Company and Mr. Mohsin Meghji (each, an “Authorized
             Signatory” and collectively, the “Authorized Signatories”), acting alone or with one or more other
             Authorized Signatories be, and they hereby are, authorized, empowered and directed, together with the
             Companies’ advisors, to execute and file on behalf of each Company all petitions, schedules, lists and other
             motions, applications, pleadings, papers, or documents, and to take any and all actions that they deem
             necessary or proper to obtain such relief, including, without limitation, any action necessary to maintain the
             ordinary course operation of each Company’s businesses and in connection with the Chapter 11 Cases, with
             a view to the successful prosecution of the cases.




Copy from re:SearchTX
                  Case
                    Case
                       24-90377
                         24-90377Document
                                   Document
                                          1003-2
                                            1 Filed
                                                 Filed
                                                    in TXSB
                                                       in TXSB
                                                            on on
                                                               05/21/24
                                                                  07/31/24Page
                                                                            Page
                                                                               13 71
                                                                                  of 28
                                                                                     of 86



             Retention of Professionals
                      RESOLVED, that Mr. Mohsin Meghji shall serve as Chief Restructuring Officer of the Company
             immediately after the filing of the Chapter 11 Cases and shall have the powers and duties as set forth in an
             engagement letter, the material terms of which have been described to the Governing Bodies, for the term
             set forth in such letter or, if earlier, until his earlier resignation or removal.
                     RESOLVED, that Mr. Mohsin Meghji will receive the benefit of the most favorable
             indemnification provisions provided by the Company to its directors, officers, and any equivalently placed
             employees, whether under the Company’s charter or by-laws, by contract or otherwise and such
             indemnification obligation shall be primary to, and without allocation against, any similar indemnification
             obligations that M3 Advisory Partners, LP (“M3”) may offer to its personnel generally.
                      RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized and
             directed to employ the law firm of White & Case LLP (“W&C”) as general bankruptcy counsel to represent
             and assist each Company in carrying out its duties under the Bankruptcy Code, and to take any and all
             actions to advance each Company’s rights and obligations, including filing any motions, objections, replies,
             applications, or pleadings; and in connection therewith, each of the Authorized Signatories, with power of
             delegation, is hereby authorized and directed to execute appropriate retention agreements, pay appropriate
             retainers, and to cause to be filed an appropriate application for authority to retain the services of W&C in
             accordance with applicable law.
                      RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized and
             directed to employ the law firm of Susman Godfrey L.L.P. (“Susman”) as special litigation counsel to
             represent and assist each Company in carrying out its duties under the Bankruptcy Code, and to take any
             and all actions to advance each Company’s rights and obligations, including filing any motions, objections,
             replies, applications, or pleadings; and in connection therewith, each of the Authorized Signatories, with
             power of delegation, is hereby authorized and directed to execute appropriate retention agreements, pay
             appropriate retainers, and to cause to be filed an appropriate application for authority to retain the services
             of Susman in accordance with applicable law.
                      RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized and
             directed to employ the law firm of Hicks Thomas, LLP (“Hicks Thomas”) as special litigation counsel to
             represent and assist each Company in carrying out its duties under the Bankruptcy Code, and to take any
             and all actions to advance each Company’s rights and obligations, including filing any motions, objections,
             replies, applications, or pleadings; and in connection therewith, each of the Authorized Signatories, with
             power of delegation, is hereby authorized and directed to execute appropriate retention agreements, pay
             appropriate retainers, and to cause to be filed an appropriate application for authority to retain the services
             of Hicks Thomas in accordance with applicable law.
                     RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized and
             directed to employ the firm of M3 as financial advisor to each Company to represent and assist each
             Company in carrying out its duties under the Bankruptcy Code, and to take any and all actions to advance
             each Company’s rights and obligations; and in connection therewith, each of the Authorized Signatories,
             with power of delegation, is hereby authorized and directed to execute appropriate retention agreements,
             pay appropriate retainers, and cause to be filed an appropriate application for authority to employ or retain
             the services of M3 in accordance with applicable law.
                      RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized and
             directed to employ the firm of Kurtzman Carson Consultants LLC (“KCC”) as notice and claims agent to
             represent and assist each Company in carrying out its duties under the Bankruptcy Code, and to take any
             and all actions to advance each Company’s rights and obligations; and in connection therewith, each of the
             Authorized Signatories, with power of delegation, is hereby authorized and directed to execute appropriate


                                                                   2


Copy from re:SearchTX
                  Case
                    Case
                       24-90377
                         24-90377Document
                                   Document
                                          1003-2
                                            1 Filed
                                                 Filed
                                                    in TXSB
                                                       in TXSB
                                                            on on
                                                               05/21/24
                                                                  07/31/24Page
                                                                            Page
                                                                               14 72
                                                                                  of 28
                                                                                     of 86



             retention agreements, pay appropriate retainers, and cause to be filed appropriate applications for authority
             to retain the services of KCC in accordance with applicable law.
                      RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized and
             directed to employ any other professionals, including legal counsel, accountants, financial advisors,
             investment bankers, and other professionals, to assist each Company in carrying out its duties under the
             Bankruptcy Code; and in connection therewith, each of the Authorized Signatories, with power of
             delegation, is hereby authorized and directed to execute appropriate retention agreements, pay appropriate
             retainers and fees, and cause to be filed an appropriate application for authority to retain the services of any
             other professionals as necessary.
             General
                      RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized and
             empowered, on behalf of and in the name of the Company to amend, supplement, or otherwise modify from
             time to time the terms of any documents, certificates, instruments, agreements, financing statements,
             notices, undertakings, or other writings referred to in the foregoing resolutions.
                      RESOLVED, that in addition to the specific authorizations heretofore conferred upon the
             Authorized Signatories, each of the Authorized Signatories (and their designees and delegates) be, and
             hereby are, authorized and empowered, in the name of and on behalf of each Company, to take or cause to
             be taken any and all such other and further action, and to execute, acknowledge, deliver, and file any and
             all such agreements, certificates, instruments, and other documents and to pay all expenses, including but
             not limited to filing fees, in each case as in such Authorized Signatory’s judgment, shall be necessary,
             advisable, or desirable in order to fully carry out the intent and accomplish the purposes of the resolutions
             adopted herein.
                     RESOLVED, that each Governing Body of each Company has received sufficient notice of the
             actions and transactions relating to the matters contemplated by the foregoing resolutions, as may be
             required by the organizational documents of each Company, or hereby waive any right to have received
             such notice.
                      RESOLVED, that all acts, actions, and transactions relating to the matters contemplated by the
             foregoing resolutions done in the name of and on behalf of each Company, which acts would have been
             approved by the foregoing resolutions except that such acts were taken before the adoption of these
             resolutions, are hereby, in all respects, approved and ratified as the true acts and deeds of each Company
             with the same force and effect as if each such act, transaction, agreement, or certificate has been specifically
             authorized in advance by resolution of each Governing Body.
                      RESOLVED, that the omission from these resolutions of any agreement, document, or other
             arrangement contemplated by any of the agreements, documents, or instruments described in the foregoing
             resolutions or any action to be taken in accordance with any requirement of any of the agreements or
             instruments described in the foregoing resolutions shall in no manner derogate from the authority of the
             Authorized Signatories to take all actions necessary, desirable, advisable, or appropriate to consummate,
             effectuate, carry out, or further the transactions contemplated by, and the intent and purposes of, the
             foregoing resolutions.
                      RESOLVED, that each of the Authorized Signatories (and their designees and delegates) be, and
             hereby is, authorized and empowered to take all actions or to not take any action in the name of each
             Company with respect to the transactions contemplated by these resolutions hereunder, as such Authorized
             Signatory shall deem necessary or desirable in such Authorized Signatory’s reasonable business judgment
             to effectuate the purposes of the transactions contemplated herein.



                                                                    3


Copy from re:SearchTX
                  Case
                    Case
                       24-90377
                         24-90377Document
                                   Document
                                          1003-2
                                            1 Filed
                                                 Filed
                                                    in TXSB
                                                       in TXSB
                                                            on on
                                                               05/21/24
                                                                  07/31/24Page
                                                                            Page
                                                                               15 73
                                                                                  of 28
                                                                                     of 86




Copy from re:SearchTX
                  Case
                    Case
                       24-90377
                         24-90377Document
                                   Document
                                          1003-2
                                            1 Filed
                                                 Filed
                                                    in TXSB
                                                       in TXSB
                                                            on on
                                                               05/21/24
                                                                  07/31/24Page
                                                                            Page
                                                                               16 74
                                                                                  of 28
                                                                                     of 86




Copy from re:SearchTX
                  Case
                    Case
                       24-90377
                         24-90377Document
                                   Document
                                          1003-2
                                            1 Filed
                                                 Filed
                                                    in TXSB
                                                       in TXSB
                                                            on on
                                                               05/21/24
                                                                  07/31/24Page
                                                                            Page
                                                                               17 75
                                                                                  of 28
                                                                                     of 86




Copy from re:SearchTX
                  Case
                    Case
                       24-90377
                         24-90377Document
                                   Document
                                          1003-2
                                            1 Filed
                                                 Filed
                                                    in TXSB
                                                       in TXSB
                                                            on on
                                                               05/21/24
                                                                  07/31/24Page
                                                                            Page
                                                                               18 76
                                                                                  of 28
                                                                                     of 86




Copy from re:SearchTX
                  Case
                    Case
                       24-90377
                         24-90377Document
                                   Document
                                          1003-2
                                            1 Filed
                                                 Filed
                                                    in TXSB
                                                       in TXSB
                                                            on on
                                                               05/21/24
                                                                  07/31/24Page
                                                                            Page
                                                                               19 77
                                                                                  of 28
                                                                                     of 86




Copy from re:SearchTX
                  Case
                    Case
                       24-90377
                         24-90377Document
                                   Document
                                          1003-2
                                            1 Filed
                                                 Filed
                                                    in TXSB
                                                       in TXSB
                                                            on on
                                                               05/21/24
                                                                  07/31/24Page
                                                                            Page
                                                                               20 78
                                                                                  of 28
                                                                                     of 86




Copy from re:SearchTX
                  Case
                    Case
                       24-90377
                         24-90377Document
                                   Document
                                          1003-2
                                            1 Filed
                                                 Filed
                                                    in TXSB
                                                       in TXSB
                                                            on on
                                                               05/21/24
                                                                  07/31/24Page
                                                                            Page
                                                                               21 79
                                                                                  of 28
                                                                                     of 86




Copy from re:SearchTX
                  Case
                    Case
                       24-90377
                         24-90377Document
                                   Document
                                          1003-2
                                            1 Filed
                                                 Filed
                                                    in TXSB
                                                       in TXSB
                                                            on on
                                                               05/21/24
                                                                  07/31/24Page
                                                                            Page
                                                                               22 80
                                                                                  of 28
                                                                                     of 86




Copy from re:SearchTX
                  Case
                    Case
                       24-90377
                         24-90377Document
                                   Document
                                          1003-2
                                            1 Filed
                                                 Filed
                                                    in TXSB
                                                       in TXSB
                                                            on on
                                                               05/21/24
                                                                  07/31/24Page
                                                                            Page
                                                                               23 81
                                                                                  of 28
                                                                                     of 86




Copy from re:SearchTX
                  Case
                    Case
                       24-90377
                         24-90377Document
                                   Document
                                          1003-2
                                            1 Filed
                                                 Filed
                                                    in TXSB
                                                       in TXSB
                                                            on on
                                                               05/21/24
                                                                  07/31/24Page
                                                                            Page
                                                                               24 82
                                                                                  of 28
                                                                                     of 86




Copy from re:SearchTX
                  Case
                    Case
                       24-90377
                         24-90377Document
                                   Document
                                          1003-2
                                            1 Filed
                                                 Filed
                                                    in TXSB
                                                       in TXSB
                                                            on on
                                                               05/21/24
                                                                  07/31/24Page
                                                                            Page
                                                                               25 83
                                                                                  of 28
                                                                                     of 86




Copy from re:SearchTX
                  Case
                    Case
                       24-90377
                         24-90377Document
                                   Document
                                          1003-2
                                            1 Filed
                                                 Filed
                                                    in TXSB
                                                       in TXSB
                                                            on on
                                                               05/21/24
                                                                  07/31/24Page
                                                                            Page
                                                                               26 84
                                                                                  of 28
                                                                                     of 86




Copy from re:SearchTX
                   Case
                     Case
                        24-90377
                          24-90377Document
                                    Document
                                           1003-2
                                             1 Filed
                                                  Filed
                                                     in TXSB
                                                        in TXSB
                                                             on on
                                                                05/21/24
                                                                   07/31/24Page
                                                                             Page
                                                                                27 85
                                                                                   of 28
                                                                                      of 86



                                                     Annex A
                                                     Companies

                                   Name of Company                       Jurisdiction of Incorporation

            Zachry Holdings, Inc.                                Delaware


            Zachry EPC Holdings, LLC                             Texas

            Zachry Engineering Corporation                       Delaware

            Zachry High Voltage Solutions, LLC                   Texas
            ZEC New York, Inc.                                   New York

            UE Properties, Inc.                                  Texas
            ZEC Michigan, Inc.                                   Michigan
            Zachry Industrial, Inc.                              Texas

            Zachry Constructors, LLC                             Texas
            Moss Point Properties, LLC                           Texas
            Zachry Enterprise Solutions, LLC                     Texas

            Zachry Nuclear, Inc.                                 Delaware
            Zachry Nuclear Construction, Inc.                    Delaware
            Zachry Nuclear Engineering, Inc.                     Delaware
            Computer Simulation & Analysis, Inc.                 Idaho

            Zachry Plant Services Holdings, Inc.                 Texas
            JVIC Fabrication, LLC                                Texas
            Zachry Industrial Americas, Inc.                     Delaware

            Zachry Maintenance Services, LLC                     Texas
            J.V. Industrial Companies, LLC                       Texas
            Madison Industrial Services Team, LLC                Texas




Copy from re:SearchTX
                       Case
                         Case
                            24-90377
                              24-90377Document
                                        Document
                                               1003-2
                                                 1 Filed
                                                      Filed
                                                         in TXSB
                                                            in TXSB
                                                                 on on
                                                                    05/21/24
                                                                       07/31/24Page
                                                                                 Page
                                                                                    28 86
                                                                                       of 28
                                                                                          of 86

       Fill in this information to identify the case and this filing:


                    Zachry Holdings, Inc.
       Debtor Name __________________________________________________________________
                                               Southern
       United States Bankruptcy Court for the: ______________________             Texas
                                                                      District of __________
                                                                                     (State)
       Case number (If known):    _________________________




      Official Form 202
      Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

      An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
      this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
      and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
      document, and the date. Bankruptcy Rules 1008 and 9011.

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
      1519, and 3571.



                  Declaration and signature



               I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
               another individual serving as a representative of the debtor in this case.

               I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


                Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                Schedule H: Codebtors (Official Form 206H)
                Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                Amended Schedule ____

               
               ■ Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

                                                          Consolidated Corporate Ownership Statement and List of Equity Holders
               ■ Other document that requires a declaration__________________________________________________________________________________




              I declare under penalty of perjury that the foregoing is true and correct.


                          5/21/2024
              Executed on ______________                         8 /s/ James R. Old
                                                                     _________________________________________________________________________
                                 MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                       James R. Old
                                                                      ________________________________________________________________________
                                                                      Printed name

                                                                      General Counsel
                                                                      ______________________________________
                                                                      Position or relationship to debtor



      Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors


Copy from re:SearchTX
